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                EXHIBIT D
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Case 3:21-cv-12870-MAS-DEA Document 9-4 Filed 07/14/21 Page 2 of 26 PageID: 163

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  (12) United States Patent                                                      ( 10 ) Patent No.:                      US 9 ,808,442 B2
       Mosher et al.                                                             (45) Date of Patent:                              Nov. 7 , 2017
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  (72 ) Inventors : Gerold L . Mosher, Kansas City, MO                            9 ,616 ,096    B14 / 2017           Mosher et al .
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                                                                                              FIG . 1
     • Enalapril diketopiperazine ; O Enalaprilat

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                                                    FIG . 2

                 Enalapril diketopiperazine; O Enalaprilat
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               ENALAPRIL FORMULATIONS                                      Enalapril is currently administered in the form of oral
             CROSS -REFERENCE OF RELATED
                                                                        tablets , (e.g., Vasotec® ) or in the form of liquid formulations
                                                                        obtained by reconstitution of enalapril powder formulations.
                        APPLICATIONS                                    In addition to the treatment ofhypertension , enalapril tablets
                                                                     5 have been used for symptomatic congestive heart failure ,
     This application is a Continuation application of U .S .
  patent application Ser. No. 15 /081,603 , filed Mar. 25 , 2016 , and asymptomatic left ventricular dysfunction .
  which claims the benefit of U . S . Provisional Patent Appli                      SUMMARY OF THE INVENTION
  cation No. 62/310 , 198 , filed Mar. 18 , 2016 , all of which are
  incorporated herein by reference in their entirety .              10 Provided herein are enalapril oral liquid formulations. In
           BACKGROUND OF THE INVENTION                                one aspect, the enalapril oral liquid formulation , comprises
                                                                      (i ) enalapril or a pharmaceutically acceptable salt or solvate
    Hypertension , or high blood pressure , is a serious health         thereof; (ii ) a sweetener that is sucralose ( iii ) a buffer
  issue in many countries. According to the National Heart      comprising citric acid (iv ) a preservative that is sodium
  Blood and Lung Institute , it is thought that about 1 in 3 15 benzoate and (v ) water ; wherein the pH of the formulation
                                                        in 315
                                                                        is less than about 3 . 5 ; and wherein the formulation is stable
  adults in the United States alone have hypertension . Left            at about 5 + 3° C . for at least 12 months
  unchecked , hypertension is considered a substantial risk                In some embodiments, the enalapril is enalapril maleate .
  factor for cardiovascular and other diseases including coro
                                                            heart 20 Inflavoring
  nary heart disease, myocardial infarction , congestivessified           some embodiments , the formulation further comprises a
  failure , stroke and kidney failure. Hypertension is classified 20 formulationagent  . In some embodiments, the buffer in the
                                                                                    further comprises sodium citrate dihydrate . In
  as primary (essential) hypertension or secondary hyperten
  sion . Primary hypertension has no known cause and may be          some embodiments , the amount of enalapril or a pharma
  related to a number of environmental, lifestyle and genetic about  ceutically acceptable salt or solvate thereof is about 0 . 6 to
  factors such as stress, obesity, smoking, inactivity and                    1.2 mg/ml. In some embodiments , the amount of
  sodium intake . Secondary hypertension can be caused hy      by 25 ments
                                                                     sucralose is about 0 .5 to about 0 .9 mg/ml. In some embodi
  drug or surgical interventions , or by abnormalities in the about, 3the         amount of citric acid in the buffer is about 0 . 8 to
                                                                               .5 mg/ml. In some embodiments, the amount of
  renal, cardiovascular or endocrine system .
     A number of antihypertensive drugs are available for               sodium citrate dihydrate in the buffer is about 0 . 1 to about
  treating hypertension . Various therapeutic classes of antihy         0 .80 mg/ml. In some embodiments , the amount of the
  pertensive drugs include alpha -adrenergic blockers , beta - >30 sodium  benzoate is about 0 .2 to about 1.2 mg/ml. In some
                                                                   embodiments, the amount of enalapril or a pharmaceutically
  adrenergic blockers , calcium -channel blockers , hypoten
  sives, mineralcorticoid antagonists, central alpha -agonists , acceptable     salt or solvate thereof is about 10 to about 25 %
                                                                   (w / w of solids ). In some embodiments , the amount of
  diuretics and rennin -angiotensin - aldosterone inhibitors
  which include angiotensin II receptor antagonists ( ARB ) and 35 sucralose  is about 8 to about 18 % (w / w of solids) . In some
  angiotensin -converting enzyme (ACE ) inhibitors . Angio embodiments            , the amount of citric acid in the buffer is about
                                                                   17 to about 47 % (w /w of solids ). In some embodiments, the
  tensin - converting enzyme (ACE ) inhibitors inhibit angio amount        of sodium citrate dihydrate in the buffer is about 1
  tensin - converting enzyme ( ACE ), a peptydyl dipeptidase
  that catalyzes angiotension I to angiotension II , a potent toamount about 11 % ( w /w of solids). In some embodiments, the
  vasoconstrictor involved in regulating blood pressure . n . 40 solids). of
                                                                           In
                                                                               sodium benzoate is about 12 to about 25 ( w / w of
                                                                               some embodiments, the pH of the formulation is
     Enalapril is a prodrug belonging to the angiotensin - 4 between about           3 and about 3 . 5 . In some embodiments , the
  converting enzyme (ACE ) inhibitor of medications. It is pH of the formulation
  rapidly hydrolyzed in the liver to enalaprilat following oral the citrate concentration isinabout     3 .3 . In some embodiments ,
                                                                                                 the buffer is about 5 mM to about
  administration . Enalaprilat acts as a potent inhibitor of ACE .
                                                                 20 mM . In some embodiments , the citrate concentration in
  The structural formulae of enalapril and enalaprilat are as 45 the
  follows:                                                           buffer is about 10 mM . In some embodiments, the
                                                                        formulation is stable at about 5 + 3° C . for at least 18 months.
                                                                         In some embodiments , the formulation is stable at about
                                                                        5 - 3° C . for at least 24 months . In some embodiments, the
                                                                        formulation does not contain mannitol. In some embodi
                                                                     50 ments , the formulation does not contain silicon dioxide.
                                                                           In one aspect, the enalapril oral liquid formulation , com
                                                                        prises (i) about 1 enalapril maleate ; ( ii ) about 0.70 mg/mlof
                                                                        a sweetener that is sucralose ; ( iii ) a buffer comprising about
                                                                         1 .82 mg/ml citric acid ; ( iv ) about 1 mg/ml of a preservative
                                                                     55 that is sodium benzoate ; and ( v ) water ; wherein the pH of the
                                              HO
                                              HO                        formulation is less than about 3 .5 ; and wherein the formu
                               Enalapril                                lation is stable at about 5 + 3° C . for at least 12 months .
                                                                          In some embodiments , the formulation further comprises




          Onthe
                       HO .
                                                                        a flavoring agent. In some embodiments , the buffer further
                                                                     60 comprises about 0 . 15 mg/mL sodium citrate dihydrate . In
                                                                        some embodiments, the pH of the formulation is between
                                                                        about 3 and about 3.5 . In some embodiments, the pH of the
                                                      - OH               formulation is about 3 . 3 . In some embodiments, the citrate
                                                                        concentration in the buffer is about 5 mM to about 20 mM .
                              Enalaprilat                            65 In some embodiments , the citrate concentration in the buffer
                                                                        is about 10 mM . In some embodiments , the formulation is
                                                                        stable at about 5 + 3° C . for at least 18 months. In some
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  embodiments, the formulation is stable at about 5 + 3° C . for                a therapeutically effective amount of enalapril oral liquid
  at least 24 months. In some embodiments , the formulation                     formulation comprising ( i) about 1 mg/ml enalaprilmaleate ;
  does not contain mannitol . In some embodiments , the for - ( ii ) about 0 .7 mg/ml of a sweetener that is sucralose ; (ii) a
  mulation does not contain silicon dioxide.                                         buffer comprising about 1 . 82 mg/ml citric acid and about
       In one aspect, the enalapril oral liquid formulation com - 5 0 . 15 mg/mlsodium citrate dihydrate; ( iv ) about 1 mg/ml of
  prises ((ili) about
  prises        about 19
                      19 .330%% (( ww //ww of
                                           of solids
                                              solids) enalapril
                                                      enalapril maleate
                                                                maleate ;: ((uiii )) wherein
                                                                                     a preservative that is sodium benzoate ; and (v ) water ;
  about 13 . 5 % ( w / w of solids ) of a sweetener that is sucralose;                        the pH of the formulation is less than about 3 .5 ; and
  ( iii ) a buffer comprising about 35 .2 % (w /w of solids ) citric wherein                  the formulation is stable at about 5 + 3° C . for at least
                                                                                      12 months . In some embodiments , the formulation does not
  acid ; ( iv ) about 19. 3 % ( w / w of solids ) of a preservative that
  is sodium benzoate ; and (v ) water ; wherein the pH of the 10 does contain mannitol. In some embodiments , the formulation
  formulation is less than about 3 . 5 ; and wherein the formu                not contain silicon dioxide .
                                                                           In some embodiments, the subject has blood pressure
  lation is stable at about 5 + 3° C . for at least 12 months.        values of about 120 - 139 /80 -89 mm Hg.
     In some embodiments , the formulation further comprises
  a flavoring agent. In some embodiments, the buffer further in Also            provided herein are methods of treating heart failure
                                                                            a subject comprising administering to that subject a
  comprises about 2 . 9 % ( w / w of solids) sodium citrate dihy - 15 therapeutically effective amount of enalapril oral liquid
  drate . In some embodiments, the pH of the formulation is formulation comprising (i) about 1 mg/nil enalapril maleate ;
  between about 3 and about 3 . 5 . In some embodiments , the         ( ii) about 0 .70 mg/ml of a sweetener that is sucralose : a
  pH of the formulation is about 3 .3 . In some embodiments, buffer comprising about 1.82 mg/ml citric acid and about
  the citrate concentration in the buffer is about 5 mM toto about
                                                             about    0 .15  mg//ml
                                                                          15 mg  ml sodium   citrate dihydrate
                                                                                     sodium citrate   dihydrate;: ((iviv )) about
                                                                                                                            about 11 mg
                                                                                                                                     mg//ml
                                                                                                                                         ml of
                                                                                                                                            of
  20 mM . In some embodiments , the citrate concentration in 2020an a preservative that is sodium benzoate ; and (v ) water;
  the buffer is about 10 mm . In some embodiments , the             wherein the pH of the formulation is less than about 3 .5 ; and
  formulation is stable at about 5 - 3° C . for at least 18 months. wherein the formulation is stable at about 5 + 3° C . for at least
  In some embodiments , the formulation is stable at about 12 months . In some embodiments , the formulation does not
  5 + 3° C . for at least 24 months. In some embodiments, the contain mannitol. In some embodiments , the formulation
  formulation does not contain mannitol. In some embodi- 25 does not contain silicon dioxide .
  ments , the formulation does not contain silicon dioxide .                       Also provided herein are methods of treating left ven
     In one aspect, the enalapril oral liquid formulation con                   tricular dysfunction in a subject comprising administering to
  sists essentially of (i) about 1 mg/nil enalapril maleate ; (ii) that subject a therapeutically effective amount of enalapril
  about 0 .70 mg/nil of a sweetener that is sucralose ; ( iii) a oral liquid formulation comprising (i) about 1 mg/ml enal
  buffer comprising about 1. 82 mg/ml citric acid and about 30 april maleate ; ( ii ) about 0 .7 mg/ml of a sweetener that is
  0 . 15 mg/ml sodium citrate dihydrate; (iv ) about 1 mg/ml of                sucralose ; ( iii) a buffer comprising about 1. 82 mg/ml citric
  a preservative that is sodium benzoate ; ( v ) a flavoring agent ;           acid and about 0 . 15 mg/ml sodium citrate dihydrate ; (iv )
  and ( vi) water; wherein the pH of the formulation is less than     about 1 mg/mlof a preservative that is sodium benzoate ; and
  about 3 . 5 adjusted by sodium hydroxide or hydrochloric            (v ) water; wherein the pH of the formulation is less than
  acid ; and wherein the formulation is stable at about 5 + 3° C . 35 about 3 . 5 . and wherein the formulation is stable at about
  for at least 12 months .
     Also provided herein are methods of treating hypertension 5formulation
                                                                        + 3° C . for at least 12 months. In some embodiments , the
                                                                                     does not contain mannitol. In some embodi
  in a subject comprising administering to that subject a             ments, the formulation does not contain silicon dioxide.
  therapeutically effective amount of enalapril oral liquid
  formulation comprising (i) about 1 mg/ml enalaprilmaleate ; 40                          INCORPORATION BY REFERENCE
  (ii) about 0 .7 mg/ml sucralose ; (iii ) a buffer comprising
  about 1.82 mg/ml citric acid and about 0 . 15 mg/ml sodium                       All publications, patents , and patent applications men
  citrate dihydrate ; (iv ) about 1 mg/ml of a preservative that is tioned in this specification are herein incorporated by ref
  sodium benzoate ; and ( v ) water ; wherein the pH of the         erence to the same extent as if each individual publication ,
  formulation is less than about 3 . 5 ; and wherein the formu- 45 patent, or patent application was specifically and individu
  lation is stable at about 5 + 3° C . for at least 12 months. In   ally indicated to be incorporated by reference .
  some embodiments, the formulation does not contain man
  nitol. In some embodiments, the formulation does not con                             BRIEF DESCRIPTION OF THE DRAWINGS
  tain silicon dioxide .
     In some embodiments , the hypertension is primary (es - 50                    The novel features of the invention are set forth with
  sential) hypertension . In some embodiments , the hyperten -                 particularity in the appended claims. A better understanding
  sion is secondary hypertension . In some embodiments , the                   of the features and advantages of the present invention will
  subject has blood pressure values greater than or equal to                   be obtained by reference to the following detailed descrip
  140 / 90 mmm Hg. In some embodiments , the subject is an                     tion that sets forth illustrative embodiments, in which the
  adult. In some embodiments , the subject is elderly . In some 55 principles of the invention are utilized , and the accompany
  embodiments, the subject is a child . In some embodiments, ing drawings of which :
  the formulation is administered to the subject in a fasted                       FIG . 1: Effect of pH on degradant formation after 8 weeks
  state. In some embodiments , the formulation is administered of storage of various enalapril solution formulations at 5° C .
  to the subject in a fed state . In some embodiments , the        FIG . 2 : Effect of pH on degradant formation after 8 weeks
  formulation is further administered in combination with an 60 of storage of various enalapril solution formulations at room
  agent selected from the group consisting of diuretics, beta                  temperature ( 19 -22° C .) .
  blockers , alpha blockers, mixed alpha and beta blockers,
  calcium channel blockers, angiotensin II receptor antago                                  DETAILED DESCRIPTION OF THE
  nists , ACE inhibitors, aldosterone antagonists , and alpha -2                                     INVENTION
  agonists .                                                65
     Also provided herein are methods of treating prehyper-                        Provided herein are stable enalapril oral liquid formula
  tension in a subject comprising administering to that subject                 tions. Also provided herein are stable enalapril powder
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  formulations for reconstitution for oral liquid administra              instances, the enalapril salt is enalapril maleate . In other
  tion . These enalapril formulations described herein are use
                                                           use            instances, the enalapril salt is in the form of enalapril
  ful for the treatment of hypertension , prehypertension , heart         sodium .
  failure as well as ventricular dysfunction . The formulations             Other ACE inhibitors are contemplated in the formula
  are advantageous over conventional solid dosage adminis - 5 tions within and include but are not limited to quinapril,
  tration of enalapril ranging from ease of administration , indolapril, ramipril , perindopril, lisinopril, benazepril , imi
  accuracy of dosing, accessibility to additional patient popu dapril, zofenopril, trandolapril, fosinopril, captopril, and
                                                                   their salts, solvates , derivatives, polymorphs, or complexes,
  lations such as to children and the elderly , and an increased thereof
  patient compliance to medication .                                       .
     It is generally known that certain segments of the popu    10 Enalapril   Oral Liquid Formulations
  lation have difficulty ingesting and swallowing solid oral          Oral  liquids include, but are not limited to , solutions (both
  dosage forms such as tablets and capsules . As many as a                aqueous and nonaqueous ), suspensions, emulsions, syrups ,
  quarter of the total population has this difficulty . Often , this      slurries, juices, elixirs , dispersions, and the like. It is envi
                                                                          sioned that solution/ suspensions are also included where
  leads to non - compliance with the recommended medical
  therapy with the solid dosage forms, thereby resulting in 15 certain      components described herein are in a solution while
                                                                     other components are in a suspension .
  rending the therapy ineffective. Further, solid dosage forms               In one aspect, the enalapril liquid formulations described
  are not recommended for children or elderly due to                      herein comprise enalapril, a preservative , a sweetening
  increased risk in choking .                                             agent, a buffer , and water. In one embodiment, the sweet
    Furthermore, the dose of enalapril to be given to children 20 ening agent is sucralose . In one embodiment, the sweetening
  is calculated according to the child 's weight. When the agent is xylitol. In one embodiment, the sweetening agent is
  calculated dose is something other than the amount present not mannitol. In another embodiment, the preservative is
   in one or more intact solid dosage forms, the solid dosage   sodium benzoate . In some embodiments , the preservative is
  form must be divided to provide the correct dose . This leads a paraben . In some embodiments, the preservative is a
  to inaccurate dosing when solid dosages forms, such as 25 mixture of parabens . In yet another embodiment, the buffer
  tablets , are compounded to prepare other formulations for comprises citric acid . In some embodiments, the buffer
  children .                                                    further comprises sodium citrate . In one aspect, the enalapril
      For enalapril, one solution to overcoming the use of the liquid formulation described herein comprises enalapril,
  tablet form is for a compounding pharmacist to pulverize sucralose, sodium benzoate , citric acid , sodium citrate , and
  and crush the enalapril tablet(s ) into a powder via mortar andà 3030   water. In some embodiments, the enalapril liquid formula
                                                                          tion herein further comprises a flavoring agent. In some
  pestle and reconstitute the powder in some liquid form .                embodiments, the enalapril liquid formulation is not
  However forming a enalapril oral liquid in this fashion has             obtained from crushing enalapril tablet and dissolving the
  significant drawbacks including large variability in the                powder in a suitable vehicle for oral administration . In some
  actual dosage , incomplete solubilizing of the enalapril tabletel ,35   embodiments , the enalapril liquid formulation does not
  in the liquid , rapid instability , inconsistent formulation            contain silicon dioxide . In some embodiments , the enalapril
  methods per compounding pharmacy, and a number of other                 liquid formulation does not contain mannitol. In some
  potential issues . The crushed tablet liquid formulation may            embodiments , the enalapril liquid formulation does not
  also be potentially unsafe due to contamination with residual contain lactose . In some embodiments, the enalapril liquid
  drugs and other substances from the mortar and pestle or 40 formulation does not contain magnesium stearate . In some
  other crushing agent.                                                   embodiments , the enalapril liquid formulation does not
     Alternatively , enalapril is formulated as enalapril powder          contain sodium bicarbonate. In some embodiments, the
  compositions for reconstitution as oral liquids as described            enalapril liquid formulation does not contain iron oxides .
  in U .S . Pat. No. 8 ,568,747 . The powder compositions as                 In some embodiments, enalapril or a pharmaceutically
  described in this patent require mannitol and colloidal 45 acceptable salt thereof, is present in about 0 .6 to about 1. 2
  silicon dioxide for stability and dissolution . While these             mg/ml in the oral liquid formulation . In other embodiments ,
  powder compositions are an improvement over crushing                    enalapril or a pharmaceutically acceptable salt thereof, is
  tablets , they still require a step of mixing with a diluent. The       present in about 0 .6 mg/ml, about 0 .61 mg/ml, about 0 .62
  stable enalapril oral liquid formulations described herein              mg/ml, about 0 .63 mg/ml, about 0 .64 mg/ml, about 0 .65
  require no extra steps or manipulation prior to administra - 50 mg/ml, about 0 .66 mg/ml, about 0 .67 mg/ml, about 0 .68
  tion to a subject. Further, the stable enalapril oral liquid            mg/ml,   about 0 .69 mg/ml, about 0 .7 mg/ml, about 0 . 71
  formulations described herein do not require or need man -              mg/ml,   about 0 .72 mg/ml, about 0 .73 mg/ml, about 0 .74
  nitol or colloidal silicon dioxide for stability and dissolution .      mg/ml,   about 0 .75 mg/ml, about 0 .76 mg/ml, about 0 . 77
     The present embodiments described herein provide a safe              mg/ml,   about 0 .78 mg/ml, about 0 .79 mg/ml, about 0 . 8
  and effective oral administration of enalapril for the treat- 55        mg/ml,   about 0 . 81 mg/ml, about 0 .82 mg/ml, about 0 .83
  ment of hypertension and other disorders . In particular, the           mg/ml, about 0.84 mg/ml, about 0.85 mg/ml, about 0.86
  embodiments provide stable enalapril oral liquid formula -              mg/ml, about 0 . 87 mg/ml, about 0 .88 mg/ml, about 0 . 89
  tions as well as alternatively enalapril powder formulations            mg/ml, about 0 . 9 mg/ml, about 0 .91 mg/ml, about 0 .92
  for oral liquid administration .                                   mg/ml, about 0 . 93 mg/ml, about 0 . 94 mg/ml, about 0 . 95
     As used herein , " enalapril” refers to enalapril base , its 60 mg/ml, about 0 . 96 mg/ml, about 0 . 97 mg/ml, about 0 . 98
  salt, or solvate or derivative or isomer or polymorph thereof. mg/ml, about 0 .99 mg/ml, about 1 mg/ml, about 1.01mg/ml,
  Suitable compounds include the free base, the organic and               about 1.02, mg/ml, about 1.03 mg/ml, about 1.04 mg/ml,
  inorganic salts, isomers , isomer salts , solvates , polymorphs,        about 1 . 05 mg/ml, about 1 . 06 mg/ml, about 1 .07 mg/ml,
  complexes etc . U .S . Pat. Nos. 4 ,374,829 ; 4 ,472 ,380 and           about 1.08 mg/ml, about 1.09 mg/ml, about 1. 1 mg/ml,
  4 ,510 ,083 disclose exemplary methods in the preparation of 65 about 1. 11 mg/ml, about 1 .12 , mg/ml, about 1. 13 mg/ml,
  enalapril . In some embodiments , the enalapril used in the     about 1 . 14 mg/ml, about 1. 15 mg/ml, about 1 . 16 mg/ml,
  formulations described herein is an enalapril salt. In some about 1 . 17 mg/ml, about 1. 18 mg/ml, about 1 . 19 mg/ml, or
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  about 1.2 mg/ml in the liquid oral formulation . In some                      about 1 w / w of the solids in the oral liquid formulation . In
  embodiments , enalapril is present in about 0 .76 mg/ml in the                other embodiments, enalapril or a pharmaceutically accept
  oral liquid formulation. In some embodiments, enalapril                       able salt thereof, is present in about 0 . 1 % w /w , about 0 . 15
  maleate is present in about 1 mg/ml in the oral liquid                        w /w , about 0 .2 % w /w , about 0 .25 w /w , about 0 . 3 % w / w ,
  formulation . In some embodiments, the formulation con - 5 about 0 .35 w /w , about 0 .4 % w /w , about 0 .45 w /w , about 0 .5
  tains enalapril or another pharmaceutically acceptable salt of w /w , about 0 .55 w /w , about 0 .6 % w /w , about 0 .65 w /w ,
  enalapril in a molar concentration equivalent to 1 mg/mL about 0 .7 % w /w , about 0 .75 % w / w , about 0 .8 % w /w , about
   enalapril maleate . In some embodiments , the formulation                    0 .85 w / w , about 0 . 9 % w / w , about 0 . 95 w / w , or about 1 w / w
  contains enalapril or another pharmaceutically acceptable          of the solids in the oral liquid formulation . In some embodi
  salt of enalapril in a molar concentration equivalent to 0 .76 10 ments , enalapril or a pharmaceutically acceptable salt
  mg/mL enalapril.                                                  thereof, is present in about 0 . 4 % w / w to about 0 . 7 % w / w of
    In some embodiments , enalapril or a pharmaceutically                       the solids in the oral liquid formulation . In some embodi
  acceptable salt thereof, is present in about 0 .5 w /w to about               ments, enalapril is present in about 0 .4 % w /w of the solids
  30 % w / w of the solids in the oral liquid formulation . In other            in the oral liquid formulation . In some embodiments , enal
   embodiments , enalapril or a pharmaceutically acceptable 15 april is present in about 0 .5 w / w of the solids in the oral
  salt thereof, is present in about 0 .5 w / w , about 1 w /w , about           liquid formulation . In some embodiments , enalapril maleate
   1. 5 % w / w , about 2 % w /w , about 2 .5 w / w , about 3 % w /w            is present in about 0 .5 w / w of the solids in the oral liquid
  about 3 . 5 w / w , about 4 % w / w , about 4 .5 % w /w , about 5 w / w       formulation . In some embodiments, enalapril maleate is
  about 5 .5 w /w , about 6 % w / w , about 6 . 5 w / w , about 7 % w / w , present in about 0 .6 % w / w of the solids in the oral liquid
  about 7 . 5 % w / w , about 8 % w / w , about 8 . 5 w / w , about 9 % 20 formulation .
  w /w , about 9 .5 w /w , about 10 % w /w , about 10 .5 % w /w ,               Sweetener in the Enalapril Oral Liquid Formulations
  about 11 w / w , about 11.5 w / w , about 12 % w /w , about 12 .5                Sweeteners or sweetening agents include any compounds
  w / w , about 13 % w / w , about 13.5 w /w , about 14 % w /w , about          that provide a sweet taste. This includes natural and syn
  14 .5 w / w , about 15 w /w , about 15 . 1 % w / w , about 15 . 2 %           thetic sugars, natural and artificial sweeteners , natural
  w /w , about 15 .3 % w /w , about 15 .4 % w /w , about 15 .5 w /w , 25        extracts and any material that initiates a sweet sensation in
  about 15 .6 % w / w , about 15 . 7 % w / w , about 15 . 8 % w / w ,           a subject. In some embodiments , a solid /powder sweetener
   about 15 . 9 % w /w , about 16 % w /w , about 16 . 1 % w /w , about          is used in the oral liquid formulation described herein . In
   16 .2 % w /w , about 16 .3 % w /w , about 16 .4 % w /w , about 16 .5         other embodiments, a liquid sweetener is used in the oral
   w / w , about 16 .6 % w / w , about 16 . 7 % w / w , about 16 . 8 % w /w ,   liquid formulation described herein .
  about 16 . 9 % w /w , about 17 % w /w , about 17 . 1 % w /w , about 30          Sugars illustratively include glucose, fructose , sucrose ,
   17 .2 % w / w , about 17 . 3 % w / w , about 17 . 4 w / w , about 17 .5      xylitol , tagatose, sucralose , maltitol, isomaltulose , IsomaltTM
   w / w , about 17 .6 % w / w , about 17 .7 % w / w , about 17. 8 % w /w ,     (hydrogenated isomaltulose ), lactitol, sorbitol, erythritol,
  about 17 . 9 % w / w , about 18 % w / w , about 18 . 1 % w / w , about        trehalose , maltodextrin , polydextrose , and the like . Other
   18 .2 % w / w , about 18 . 3 % w / w , about 18.4 % w /w , about 18 .5       sweeteners illustratively include glycerin , inulin , erythritol,
   w /w , about 18 .6 % w /w , about 18 .7 % w / w , about 18. 8 % w /w , 35 maltol, acesulfame and salts thereof, e .g., acesulfame potas
   about 18 . 9 % w /w , about 19 % w /w , about 19. 1 % w /w , about           sium , alitame, aspartame, neotame, sodium cyclamate , sac
   19. 2 % w /w , about 19 . 3 % w /w , about 19 . 4 % w /w , about 19 . 5      charin and salts thereof, e .g ., saccharin sodium or saccharin
   w /w , about 19 .6 % w /w , about 19 .7 % w / w , about 19 . 8 % w /w ,      calcium , neohesperidin dihydrochalcone , stevioside, thau
   about 19 . 9 % w / w , about 20 % w /w , about 20 . 1 % w /w , about         matin , and the like. Sweeteners can be used in the form of
  20 .2 % w /w , about 20 .3 % w / w , about 20 .4 % w /w , about 20 . 5 40     crude or refined products such as hydrogenated starch
  w / w , about 20 .6 % w /w , about 20 .7 % w / w , about 20 . 8 % w /w ,      hydrolysates , maltitol syrup , high fructose corn syrup, etc .,
  about 20 . 9 % w /w , about 21 % w /w , about 21. 1 % w /w , about            and as branded products, e .g ., Sweet AmTM liquid (Product
  21. 2 w /w , about 21.3 % w /w , about 21.4 % w /w , about 21.5               Code 918 .003 -propylene glycol, ethyl alcohol, and propri
  w / w , about 21.6 % w /w , about21.7 % w / w , about 21. 8 % w /w ,          etary artificial flavor combination , Flavors of North
  about 21.9 % w /w , about 22 % w /w , about 22 .5 w /w , about 45             America ) and Sweet AmTM powder (Product Code
  23 % w /w , about 23 .5 % w /w , about 24 % w / w , about 24 .5               918 .005 — maltodextrin, sorbitol, and fructose combination
  w / w , about 25 w /w , about 25 .5 w / w , about 26 % w /w , about           and Product Code 918 .010water, propylene glycol, sor
  26 .5 w /w , about 27 % w /w , about 27 .5 w /w , about 28 % w /w ,           bitol, fructose , and proprietary natural and artificial flavor
  about 28 .5 w / w , about 29 % w / w , about 29 . 5 w / w , or about          combination , Flavors of North America ), ProSweetTM
  30 % w /w of the solids in the oral liquid formulation . In some 50           (1 - 10 % proprietary plant/vegetable extract and 90 - 99 % dex
   embodiments, enalapril or a pharmaceutically acceptable                      trose combination , Viriginia Dare ), MaltisweetTM (maltitol
   salt thereof, is present in about 10 % w /w to about 25 w / w of             solution , Ingredion ), SorboTM ( sorbitol and sorbitol/ xylitol
  the solids in the oral liquid formulation. In some embodi      solution, SPI Polyols ), InvertoseTM (high fructose corn
  ments, enalapril is present in about 10 . 5 % w /w of the solids
                                                                 syrup , Ingredion ), Rebalance M60 and X60 ( sucralose and
  in the oral liquid formulation . In some embodiments, enal- 55 maltodextrin , Tate and Lyle ), and Ora -Sweet® sugar - free
  april is present in about 15 % w /w of the solids in the oral flavored syrup (Paddock Laboratories, Inc .). Sweeteners can
   liquid formulation . In some embodiments , enalapril is pres -               be used singly or in combinations of two or more . Suitable
   ent in about 18 . 2 % w / w of the solids in the oral liquid                 concentrations of different sweeteners can be selected based
   formulation . In some embodiments, enalapril maleate is                      on published information , manufacturers' data sheets and by
  present in about 13 . 5 w / w of the solids in the oral liquid 60 routine testing .
  formulation . In some embodiments, enalapril maleate is                          In some embodiments , the enalapril oral liquid formula
  present in about 19 . 3 % w / w of the solids in the oral liquid              tion described herein comprises a sweetening agent. In some
   formulation . In some embodiments , enalapril maleate is                     embodiments , the sweetening agent is sucralose . In some
  present in about 24 . 5 w / w of the solids in the oral liquid                embodiments , the sweetening agent is xylitol . In some
  formulation .                                               65 embodiments , the sweetener is not mannitol.
     In some embodiments , enalapril or a pharmaceutically         In some embodiments , the enalapril oral liquid formula
  acceptable salt thereof, is present in about 0 .1 % w / w to tion described herein comprises sucralose . In some embodi
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  ments , sucralose is present in about 0 .5 to about 0 .9 mg/ml                 about 94 % w /w , about 95 % w / w , about 96 % w / w , about 97 %
  in the oral liquid formulation . In other embodiments, sucral-                 w / w , about 98 % w / w , or about 99 % w / w of the solids in the
  ose is present in about 0 .51 mg/ml, about 0 . 52 mg/ml, about                 oral liquid formulation . In some embodiments , xylitol is
  0 .53 mg/ml, about 0 . 54 mg/ml, about 0 .55 mg/ml, about                      present in about 96 % w / w to about 98 % w / w of the solids
   0 . 56 mg/ml, about 0 .57 mg/ml, about 0 .58 mg/ml, about 5 in the oral liquid formulation . In some embodiments , xylitol
   0 . 59 mg/ml, about 0 .60 mg/ml, about 0 .61 mg/ml, about                     is present in about 96 % w /w of the solids in the oral liquid
   0 .62 mg/ml, about 0 .63 mg/ml, about 0 .64 mg/ml, about                      formulation .
   0 .65 mg/ml, about 0 . 66 mg/ml, about 0 .67 mg/ml, about    Preservative in the Enalapril Oral Liquid Formulations
   0 .68 mg/ml, about 0 .69 mg/ml, about 0 .70 mg/ml, about        Preservatives include anti -microbials , anti -oxidants , and
   0 .71 mg/ml, about 0 .72 mg/ml, about 0 . 73 mg/ml, about 10 agents that enhance sterility . Exemplary preservatives
   0 .74 mg/ml, about 0 . 75 mg/ml, about 0 .76 mg/ml, about include ascorbic acid , ascorbyl palmitate , BHA, BHT, citric
   0 .77 mg/ml, about 0 .78 mg/ml, about 0 .79 mg/ml, about acid , EDTA and its salts, erythorbic acid , fumaric acid ,malic
   0 .80 mg/ml, about 0 .81 mg/ml, about 0 . 82 mg/ml, about acid , propyl gallate , sodium ascorbate , sodium bisulfate ,
   0 .83 mg/ml, about 0 . 84 mg/ml, about 0 . 85 mg/ml, about sodium metabisulfite , sodium sulfite, parabens ( such as
   0 .86 mg/ml, about 0 .87 mg/ml, about 0 .88 mg/ml, about 15 methylparaben , ethylparaben , propylparaben , butylparaben
   0 .89 mg/ml, or about 0 . 90 mg /ml in the oral liquid formu- and their salts) , benzoic acid , sodium benzoate , potassium
  lation . In some embodiments, sucralose is present in about sorbate , vanillin , and the like.
  0 .7 mg/ml in the oral liquid formulation .                         In some embodiments, the enalapril oral liquid formula
      In some embodiments , sucralose is present in about 1 %      tion described herein comprises a preservative .
  w / w to about 30 % w /w of the solids in the oral liquid 20 In some embodiments, the preservative is a paraben and
  formulation . In some embodiments, sucralose is present in       the sweetener is not a sugar ( such as , but not limited to
  about 1 % w /w , about 1 .5 % w /w , about 2 % w /w , about 2 .5 glucose, fructose , sucrose, lactose , maltose ) or a sugar
   w / w , about 3 % w / w , about 3 .5 w / w , about 4 % w / w , about         alcohol ( such as, but not limited to xylitol, mannitol, lactitol,
   4 . 5 % w /w , about 5 w /w , about 5 . 5 w /w , about 6 % w / w , about     maltitol, sorbitol ).
  6 .5 w /w , about 7 % w /w , about 7 .5 % w /w , about 8 % w /w , 25              In some embodiments , the preservative is sodium benzo
  about 8 .5 w / w , about 9 % w / w , about 9 .5 w / w , about 10 %             ate .
  w / w , about 10 . 5 % w /w , about 11 w /w , about 11 . 5 w / w , about          In some embodiments , modulation of the pH is desired to
  12 % w /w , about 12 .5 w /w , about 13 % w /w , about 13 .5 w /w , provide the best antimicrobial activity of the preservative ,
  about 14 % w / w , about 14 . 5 w / w , about 15 w / w , about 15 . 5    sodium benzoate . In some embodiments , the antimicrobial
  w / w , about 16 % w / w , about 16 .5 w /w , about 17 % w /w , about 30 activity of sodium benzoate drops when the pH is increased
  17 .5 w /w , about 18 % w /w , about 18 .5 w / w , about 19 % w /w , above 5 .
  about 19 .5 w / w , about 20 % w /w , about 20 .5 w /w , about 21 %      In some embodiments, the pH of the enalapril oral liquid
  w / w , about 21 .5 w /w , about 22 % w /w , about 22 .5 w / w , about formulation described herein is less than about 4 . In some
  23 % w /w , about 23 . 5 w /w , about 24 % w / w , about 24 . 5 w /w , embodiments , the pH of the enalapril oral liquid formulation
  about 25 w /w , about 25 .5 w /w , about 26 % w / w , about 26 .5 35 described herein is less than about 3 .5 . In some embodi
  w /w , about 27 % w / w , about 27 .5 % w /w , about 28 % w /w ,               ments, the pH of the enalapril oral liquid formulation
   about 28 .5 w /w , about 29 % w / w , about 29 . 5 w / w , or about           described herein is between about 3 and about 4 . In some
   30 % w /w of the solids in the oral liquid formulation. In some               embodiments, the pH of the enalapril oral liquid formulation
   embodiments, sucralose is present in about 8 % w /w to about                  described herein is between about 3 and about 3 .5 . In some
  18 % w / w of the solids in the oral liquid formulation . In some 40 embodiments , the pH of the enalapril oral liquid formulation
  embodiments , sucralose is present in about 9 . 5 % w / w of the     described herein is about 3 , about 3 . 1 , about 3 . 2 , about 3 . 3 ,
  solids in the oral liquid formulation . In some embodiments,                   about 3 .4 , about 3.5 , about 3 .6 , about 3 .7 , about 3 .8 , about
  sucralose is present in about 13 .5 % w / w of the solids in the               3. 9, or about 4 . In some embodiments , the pH of the
  oral liquid formulation . In some embodiments , sucralose is                   enalapril oral liquid formulation described herein is about
  present in about 16 . 5 % w / w of the solids in the oral liquid 45            3 .3 .
  formulation .                                                                      In some embodiments, sodium benzoate is present in
     In some embodiments , the enalapril oral liquid formula -                   about 0 .2 to about 1 .2 mg/ml in the oral liquid formulation .
  tion described herein comprises xylitol. In some embodi-                       In other embodiments , sodium benzoate is present in about
  ments, xylitol is present in about 140 mg/ml to about 210                      0 .2 mg /ml, about 0 .21 mg/ml, about 0 . 22 mg/ml, about 0 . 23
  mg/ml in the oral liquid formulation .                                      50 mg/ml, about 0 .24 mg/ml, about 0 .25 mg/ml, about 0 .26
    In some embodiments, xylitol is present in about 140                        mg/ml, about 0 . 27 mg/ml, about 0 .28 mg/ml, about 0 . 29
  mg/ml, about 145 mg/ml, about 150 mg/ml, about 155                            mg/ml, about 0 . 3 mg/ml, about 0 .31 mg/ml, about 0 . 32
  mg/ml, about 160 mg/ml, about 165 mg/ml, about 170                             mg/ml, about 0 .33 mg/ml, about 0. 34 mg/ml, about 0 .35
  mg/ml, about 175 mg/ml, about 180 mg/ml, about 185                             mg/ml, about 0 .36 mg/ml, about 0 . 37 mg/ml, about 0 .38
  mg/ml, about 190 mg/ml, about 195 mg/ml, about 200 55 mg/ml, about 0 . 39 mg/ml, about 0 .4 mg/ml, about 0 . 41
  mg/ml, about 205 mg/ml, or about 210 mg/ml of the oral                         mg/ml, about 0.42 mg/ml, about 0.43 mg/ml, about 0.44
   liquid formulation . In some embodiments , xylitol is present                 mg/ml, about 0 .45 mg/ml, about 0 .46 mg/ml, about 0 . 47
  in about 150 mg/ml in the oral liquid formulation . In some                   mg/ml, about 0 .48 mg/ml, about 0 .49 mg/ml, about 0 .5
  embodiments, xylitol is present in about 200 mg/ml in the                      mg/ml, about 0 .51 mg/ml, about 0 .52 mg/ml, about 0 . 53
  oral liquid formulation .                                   60                 mg/ml, about 0 .54 mg/ml, about 0 .55 mg/ml, about 0 . 56
     In some embodiments, xylitol is present in about 80 %                      mg/ml, about 0 .57 mg/ml, about 0 .58 mg/ml, about 0 .59
  w / w to about 99 % w /w of the solids in the oral liquid                     mg/ml, about 0 .6 mg/ml, about 0 .61 mg/ml, about 0 .62
  formulation . In other embodiments , xylitol is present in                    mg/ml, about 0 .63 mg/ml, about 0 .64 mg/ml, about 0 .65
  about 80 % w / w , about 81 % w / w , about 82 % w / w , about 83 %           mg/ml, about 0 .66 mg/ml, about 0 .67 mg/ml, about 0 .68
   w / w , about 84 % w /w , about 85 % w / w , about 86 % w /w , 65 mg/ml, about 0 .69 mg/ml, about 0 .7 mg/ml, about 0 .71
  about 87 % w / w , about 88 % w / w , about 89 % w / w , about 90 %           mg/ml, about 0 .72 mg/ml, about 0 .73 mg/ml, about 0 .74
   w / w , about 91 % w /w , about 92 % w / w , about 93 % w /w ,                mg/ml, about 0 . 75 mg/ml, about 0 .76 mg/ml, about 0 . 77
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                                     11                                                                          12
  mg/ml, about 0 . 78 mg/ml, about 0 .79 mg/ml, about 0 .8                      w /w , about 0 .25 w / w , about 0 .3 % w /w , about 0 . 35 w /w ,
  mg/ml, about 0 .81 mg/ml, about 0 .82 mg/ml, about 0 . 83                    about 0 . 4 % w / w , about 0 .45 w / w , about 0 .5 w / w , about 0 .55
  mg/ml, about 0 .84 mg/ml, about 0 .85 mg/ml, about 0 . 86                     w /w , about 0 .6 % w /w , about 0 .65 w /w , about 0 .7 % w /w ,
  mg/ml, about 0 .87 mg/ml, about 0 .88 mg/ml, about 0 .89                     about 0 .75 w /w , about 0 . 8 % w / w , about 0 .85 w /w , about
  mg/ml, about 0 . 9 mg/ml, about 0 .91 mg/ml, about 0 . 92 5 0 . 9 % w /w , about 0 .95 % w /w , or about 1 w / w of the solids
  mg/ml, about 0 .93 mg/ml, about 0 . 94 mg/ml, about 0 . 95  in the oral liquid formulation . In some embodiments , sodium
  mg/ml, about 0 . 96 mg/ml, about 0 . 97 mg/ml, about 0 . 98 benzoate is present in about 0 . 4 % w /w to about 0 .7 % w / w
  mg/ml, about 0 . 99 mg/ml, about 1 mg/ml, about 1 .01mg/ml, of the solids in the oral liquid formulation . In some embodi
  about 1 .02, mg/ml, about 1. 03 mg/ml, about 1 .04 mg/ml, ments , sodium benzoate is present in about 0 .45 % w / w of
  about 1. 05 mg/ml, about 1 .06 mg/ml, about 1. 07 mg/ml, 10 the solids in the oral liquid formulation . In some embodi
  about 1 .08 mg/ml, about 1.09 mg/ml, about 1. 1 mg/ml, ments , sodium benzoate is present in about 0 .6 % w /w of the
  about 1. 11 mg/ml, about 1. 12 , mg/ml, about 1 . 13 mg/ml,                  solids in the oral liquid formulation .
  about 1 . 14 mg/ml, about 1 . 15 mg/ml, about 1 . 16 mg/ml,                     In some embodiments , sodium benzoate is present in an
   about 1 . 17 mg/ml, about 1 . 18 mg/ml, about 1. 19 mg/ml, or amount sufficient to provide antimicrobial effectiveness to
   about 1. 2 mg/ml in the liquid oral formulation . In some 15 the enalapril oral liquid formulation described herein . (See
   embodiments, sodium benzoate is present in about 1 mg/ml Table G - 1 ).
  in the oral liquid formulation .                                                In some embodiments, the preservative is a paraben . In
     In some embodiments , sodium benzoate is present in                        some embodiments , the preservative is a mixture of para
  about 1 % w /w to about 30 % w / w of the solids in the oral                 bens. In some embodiments, the paraben or mixture of
   liquid formulation . In other embodiments , sodium benzoate 20 parabens is present in about 0 . 1 mg/ml to about 2 mg/ml in
   is present in about 1 % w / w , about 1 .5 w / w , about 2 %       w /w ,   the oral liquid formulation . In other embodiments , the
   about 2 .5 w / w , about 3 % w /w , about 3 .5 w / w , about 4 %   w /w ,   paraben or mixture of parabens is present in about 0 . 1
   about 4 .5 w / w , about 5 w /w , about 5 .5 w / w , about 6 %     w /w ,   mg/ml, about 0 . 2 mg/ml, about 0 . 3 mg/ml, about 0 .4 mg/ml,
   about 6 .5 w /w , about 7 % w /w , about 7 .5 w / w , about 8 %    w /w     about 0 . 5 mg/ml, about 0 .6 mg/ml, about 0 .7 mg/ml, about
  about 8.5 w /w , about 9 % w /w , about 9.5 w /w , about 10 % 25 0.8 mg/ml, about 0.9 mg/ml, about 1 mg/ml, about 1. 1
   w / w , about 10 . 5 w / w , about 11 w / w , about 11 .5 w /w , about      mg/ml, about 1.2 mg/ml, about 1 .3 mg/ml, about 1.4 mg/ml,
   12 % w /w , about 12 .5 w /w , about 13 % w /w , about 13 .5 w /w ,          or about 1 . 5 mg /ml, about 1 .6 mg/ml, about 1. 7 mg/ml,
  about 14 % w /w , about 14 .5 w /w , about 15 w / w , about 15 .1 %           about 1.8 mg/ml, about 1.9 mg/ml, or about 2 mg/ml in the
   w / w , about 15 . 2 % w /w , about 15 .3 % w / w , about 15 . 4 % w /w ,    liquid oral formulation . In some embodiments , the paraben
  about 15 .5 w / w , about 15 .6 % w /w , about 15 .7 % w /w , about 30 or mixture of parabens is present in about 1 .6 mg/ml to about
   15 .8 % w / w , about 15 . 9 % w /w , about 16 % w / w , about 16 . 1 %      2 mg/ml in the oral liquid formulation . In some embodi
   w /w , about 16 .2 % w /w , about 16 . 3 % w /w , about 16 .4 % w /w ,      ments, the paraben ormixture of parabens is present in about
   about 16 .5 w / w , about 16 .6 % w / w , about 16 .7 % w / w , about        1 .6 mg/mlto about 1. 8 mg/ml in the oral liquid formulation .
   16 . 8 % w / w , about 16 . 9 % w / w , about 17 % w / w , about 17 . 1 %    In some embodiments , the paraben or mixture of parabens is
   w / w , about 17 .2 % w /w , about 17. 3 % w /w , about 17 .4 % w /w , 35 present in about 0 .1 mg/ml to about 0 .5 mg/ml in the oral
  about 17 . 5 w / w , about 17 . 6 % w / w , about 17 .7 % w / w , about    liquid formulation .
   17 .8 % w /w , about 17 .9 % w /w , about 18 % w /w , about 18 . 1 %         In some embodiments ,the paraben ormixture of parabens
   w / w , about 18 .2 % w /w , about 18 .3 % w /w , about 18 .4 w / w      is present in about 2 % w /w to about 30 % w / w of the solids
  about 18 .5 w / w , about 18 .6 % w / w , about 18 . 7 % w /w , about     in the oral liquid formulation . In other embodiments , the
   18 .8 % w / w , about 18 .9 % w /w , about 19 % w /w , about 19 . 1 % 40 paraben or mixture of parabens is present in about 2 % w /w ,
   w / w , about 19 . 2 % w /w , about 19.3 % w / w , about 19 . 4 % w /w ,     about 3 % w / w , about 4 % w / w , about 5 % w /w , about 6 %
   about 19 .5 % w / w , about 19 .6 % w / w , about 19 .7 % w /w               w /w , about 7 % w / w , about 8 % w /w , about 9 % w /w , about
  about 19.8 % w /w , about 19 .9 % w /w , about 20 % w /w , about              10 % w /w , about 11 % w /w , about 12 % w /w , about 13 % w /w ,
  20 . 1 % w /w , about 20 .2 % w /w , about 20 . 3 % w /w , about              about 14 % w / w , about 15 % w / w , about 16 % w /w , about 17 %
  20 .4 % w / w , about 20 .5 w /w , about 20 .6 % w / w , about 20 . 7 % 45 w /w , about 18 % w /w , about 19 % w / w , about 20 % w /w ,
  w /w , about 20 .8 % w /w , about 20 . 9 % w /w , about 21% w /w , about 21% w /w , about 22 % w /w , about 23 % w /w , about 24 %
  about 21 . 1 % w /w , about 21 .2 % w /w , about 21.3 % w /w                  w /w , about 25 % w / w , about 26 % w /w , about 27 % w / w ,
  about 21 .4 % w /w , about 21.5 w / w , about 21 .6 % w / w , about           about 28 % w /w , about 29 % w / w , or about 30 % w / w of the
  21.7 % w / w , about 21. 8 % w /w , about 21. 9 % w /w , about 22 %           solids in the oral liquid formulation . In some embodiments ,
   w / w , about 22.5 w /w , about 23 % w /w , about 23 .5 w /w , about 50 the paraben or mixture of parabens is present in about 2 %
   24 % w / w , about 24 .5 w / w , about 25 w / w , about 25 . 5 w /w          w /w to about 3 % w / w of the solids in the oral liquid
  about 26 % w / w , about 26 .5 w / w , about 27 % w /w , about 27 .5         formulation . In some embodiments, the paraben or mixture
  w /w , about 28 % w /w , about 28 . 5 % w /w , about 29 % w /w ,             of parabens is present in about 23 % w /w to about 26 % w /w
  about 29 .5 w /w , or about 30 % w / w of the solids in the oral of the solids in the oral liquid formulation . In some embodi
  liquid formulation . In some embodiments , sodium benzoate 55 ments , the paraben or mixture of parabens is present in about
  is present in about 10 % w /w to about 25 w /w of the solids                  26 % w /w to about 30 % w /w of the solids in the oral liquid
  in the oral liquid formulation . In some embodiments, sodium                  formulation .
  benzoate is present in about 13 . 5 % w / w of the solids in the              Sweetener and Preservative Incompatibility
  oral liquid formulation . In some embodiments , sodium ben                      Paraben preservatives ( especially methylparaben ) can
  zoate is present in about 19 . 3 % w / w of the solids in the oral 60 react with selected sugars (glucose, fructose, sucrose , lac
  liquid formulation . In some embodiments , sodium benzoate                   tose, maltose ) and sugar alcohols (xylitol,mannitol, lactitol,
  is present in about 23 .5 % w / w of the solids in the oral liquid           maltitol, sorbitol) to form transesterification reaction prod
  formulation .                                                                ucts . This can be undesirable from a formulation and sta
      In some embodiments , sodium benzoate is present in                      bility standpoint as the transesterification creates additional
  about 0 .1 % w / w to about 1 w /w of the solids in the oral 65 degradants.
  liquid formulation . In other embodiments , sodium benzoate            In some embodiments , the enalapril oral liquid formula
  is present in about 0 . 1 % w /w , about 0 .15 w /w , about 0 . 2 % tion described herein does not comprise a paraben preser
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  vative. In further embodiments , the enalapril oral liquid                                       -continued
  formulation described herein does not comprise a paraben
  preservative when the formulation also comprises a sugar or
  sugar alcohol.
  pH of Enalapril Oral Liquid Formulations                          5
    Buffering agents maintain the pH of the liquid enalapril
  formulation . Non -limiting examples of buffering agents
  include, but are not limited to sodium bicarbonate , potas                         HO .
  sium bicarbonate , magnesium hydroxide , magnesium lac
  tate, magnesium glucomate , aluminum hydroxide, alumi- 1
  num hydroxide /sodium bicarbonate co -precipitate , mixture                                                     HO
  of an amino acid and a buffer, a mixture of aluminum                                              enalaprilat
   glycinate and a buffer , a mixture of an acid salt of an amino
  acid and a buffer, and a mixture of an alkali salt of an amino
  acid and a buffer . Additional buffering agents include citric           In some embodiments , the percentage of enalaprilat for
  acid , sodium citrate , sodium tartarate , sodium acetate ,           mation is increased when the pH is above 3 .5 . ( See table C - 2
  sodium carbonate , sodium polyphosphate, potassium poly -             and FIG . 1 and FIG . 2 ). In some embodiments , the percent
  phosphate , sodium pyrophosphate , potassium pyrophos                 age of enalapril diketopiperazine formation is slightly
  phate , disodium hydrogenphosphate , dipotassium hydrogen - 20 increased as the pH is below 4 .
  phosphate , trisodium phosphate , tripotassium phosphate ,              In some embodiments, the pH of the enalapril oral liquid
  sodium acetate, potassium metaphosphate, magnesium                    formulation described herein is less than about 4 . In some
  oxide, magnesium hydroxide, magnesium carbonate , mag -               embodiments, the pH of the enalapril oral liquid formulation
  nesium silicate , calcium acetate , calcium glycerophosphate , described herein is less than about 3 .5 . In some embodi
  calcium chloride, calcium hydroxide , calcium lactate , cal- 25 ments, the pH of the enalapril oral liquid formulation
  cium carbonate , calcium bicarbonate , and other calcium         described herein is between about 3 and about 4 . In some
  salts . Some buffering agents also impart effervescent quali embodiments , the pH of the enalapril oral liquid formulation
  ties when a powder is reconstituted in a solution . In some described herein is between about 3 and about 3.5 . In some
  embodiments, the buffering agent is not sodium bicarbonate .     embodiments , the pH of the enalapril oral liquid formulation
     In some embodiments , the oral liquid formulation com om 30 described herein is about 3 , about 3 . 1, about 3 .2 , about 3.3 ,
  prises a buffer .                                                 about 3 .4 , about 3.5 , about 3 .6 , about 3 .7 , about 3 .8 , about
                                                                    3 . 9 , or about 4 . In some embodiments, the pH of the
     In some embodiments , the buffer in the enalapril oral enalapril           oral liquid formulation described herein is about
  liquid formulation described herein comprises citric acid . In    3 . 3 .
  some embodiments , the buffer in the enalapril oral liquid     25
  formulation described herein comprises citric oral acid quiq
                                                           and 35 In some embodiments, the formation of degradants is
                                                                        dependent on the buffer concentration . In some embodi
  sodium citrate . In some embodiments , the buffer in the              ments , the buffer concentration impacts the taste of the
  enalapril oral liquid formulation described herein comprises          enalapril oral liquid formulation .
  citric acid and sodium citrate dihydrate or an equivalent                In some embodiments , the buffer concentration is
  molar amount of sodium citrate anhydrous. In some embodi- 40 between about 5 mM and about 20 mM . In some embodi
  ments, the sodium citrate is monosodium Citrate . In some             ments , the buffer concentration is about 5 mM , about 6 mM ,
  embodiments, the sodium citrate is disodium citrate . In some          about 7 mM , about 8 mM , about 9 mM , about 10 mM , about
   embodiments, the sodium citrate is trisodium citrate .               11 mM , about 12 mM , about 13 mM , about 14 mM , about
     In some embodiments , the buffer in the enalapril oral             15 mM , about 16 mM , about 17 mM , about 18 mM , about
  liquid formulation described herein comprises phosphoric 45 19 mm , or about 20 mM . In some embodiments, the buffer
  acid . In some embodiments , the buffer in the enalapril oral concentration is about 5 mM . In some embodiments , the
   liquid formulation described herein comprises sodium phos      buffer concentration is about 10 mM . In some embodiments,
  phate .                                                         the buffer concentration is about 20 mM .
     In some embodiments, modulation of the pH is desired   to       In some embodiments, citric acid is present in about 0 .7
                                                       stabil  50 to  about 2 mg/ml in the oral liquid formulation . In other
  provide a lowered impurity profile. In the exemplary stabil- 30 embodiments
   ity studies , the main enalapril degradants are enalapril                    , citric acid is present in about 0 .7 mg/ml,
  diketopiperazine and enalaprilat:                                     about 0 .71 mg/ml, about 0 . 72 mg/ml, about 0 .73 mg/ml,
                                                                        about 0 .74 mg/ml, about 0 .75 mg/ml, about 0 . 76 mg/ml,
                                                                        about 0 .77 mg/ml, about 0 .78 mg/ml, about 0 .79 mg/ml,
                                                                    55 about 0 . 8 mg/ml, about 0 .81 mg/ml, about 0 .82 mg/ml,
                                                                        about 0 . 83 mg/ml, about 0 .84 mg/ml, about 0 . 85 mg/ml,
                                                                       about 0 .86 mg/ml, about 0 . 87 mg/ml, about 0 .88 mg/ml,
                                                                       about 0 .89 mg/ml, about 0 . 9 mg/mL , about 0 . 91 mg/mL ,
                                                                       about 0 . 92 mg/mL , about 0 .93 mg/mL, about 0 . 94 mg/mL ,
                                                                    60 about 0 . 95 mg/mL , about 0 . 96 mg/mL , about 0 . 97 mg/mL ,
                                                                        about 0 . 98 mg/mL, about 0 .99 mg/mL , about 1 mg/mL ,
                                                                        about 1 . 11 mg/ml, about 1. 12 mg/ml, about 1 . 13 mg/ml,
                                                                        about 1. 14 mg/ml, about 1. 15 mg/ml, about 1. 16 mg/ml,
                                                                       about 1 . 17 mg/ml, about 1 . 18 mg/ml, about 1 . 19 mg/ml,
                                                                    65 about 1 . 2 mg/ml, about 1 .21 mg/ml, about 1 .22 mg/ml,
                       enalapril diketopiperazine                      about 1 . 23 mg/ml, about 1 . 24 mg/ml, about 1 .25 mg/ml,
                                                                        about 1. 26 mg/ml, about 1. 27 mg/ml, about 1 . 28 mg/ml,
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   about 1.29 mg/ml, about 1. 3 mg/mL , about 1.31 mg/mL ,                    In some embodiments, citric acid is present in about 1
  about 1.32 mg/mL, about 1 .33 mg/mL, about 1. 34 mg/mL ,                 w /w to about 5 w / w of the solids in the oral liquid formu
  about 1 .35 mg/mL , about 1 . 36 mg/mL , about 1 . 37 mg/mL ,             lation . In other embodiments , citric acid is present in about
  about 1. 38 mg/mL , about 1.39 mg/mL , about 1.4 mg/ml,                   1 % w / w , about 1 . 1 % w /w , about 1. 2 % w / w , about 1 .3 % w /w ,
   about 1. 41 mg/ml, about 1 .42 mg/ml, about 1. 43 mg/ml, 5 about 1 .4 % w /w , about 1. 5 w / w , about 1 .6 % w /w , about
   about 1. 44 mg/ml, about 1 .45 mg/ml, about 1 .46 mg/ml,   1. 7 % w /w , about 1. 8 % w /w , about 1. 9 % w /w , about 2 % w / w ,
  about 1.47 mg/ml, about 1.48 mg/ml, about 1.49 mg/ml,                    about 2 .1 % w /w , about 2 .2 % w /w , about 2. 3 % w /w , about
   about 1 .5 mg/ml, about 1. 51 mg/ml, about 1 . 52 mg/ml,                 2 .4 % w / w , about 2 .5 w / w , about 2 .6 % w /w , about 2 .7 % w / w ,
  about 1 .53 mg/ml, about 1 .54 mg/ml, about 1 .55 mg/ml,                 about 2 . 8 % w / w , about 2 . 9 % w / w , about 3 % w / w , about
   about 1. 56 mg/ml, about 1 .57 mg/ml, about 1. 58 mg/ml, 10 3 . 1 % w / w , about 3 . 2 % w /w , about 3 . 3 % w / w , about 3 .4 %
  about 1 .59 mg/ml, about 1 .6 mg/mL , about 1 .61 mg/mL ,                 w / w , about 3 .5 w / w , about 3 .6 % w / w , about 3 . 7 % w / w , about
  about 1.62 mg/mL, about 1 .63 mg/mL, about 1.64 mg/mL ,                  3.8 % w / w , about 3 .9 % w /w , about 4 % w / w , about 4 . 1 % w /w ,
  about 1.65 mg/mL , about 1.66 mg/mL , about 1.67 mg/mL ,                 about 4 .2 % w /w , about 4 . 3 % w / w , about 4 .4 % w /w , about
   about 1 .68 mg/mL , about 1 .69 mg/mL, about 1 . 7 mg/ml,   4 .5 w /w , about 4 .6 % w / w , about 4 . 7 % w /w , about 4 . 8 % w / w ,
   about 1. 71 mg/ml, about 1 .72 mg/ml, about 1. 73 mg/ml, 15 about 4 . 9 % w / w , or about 5 w /w of the solids in the oral
  about 1 . 74 mg/ml, about 1 .75 mg/ml, about 1 . 76 mg/ml,               liquid formulation . In some embodiments , citric acid is
  about 1. 77 mg/ml, about 1.78 mg/ml, about 1.79 mg/ml,                   present in about 2 . 1 % w /w of the solids in the oral liquid
  about 1 . 8 mg/ml, about 1 .81 mg/ml, about 1 .82 mg/ml,                  formulation . In some embodiments , citric acid is present in
   about 1. 83 mg/ml, about 1 .84 mg /ml, about 1. 85 mg/ml,                about 1 .6 % w /w of the solids in the oral liquid formulation .
  about 1 . 86 mg/ml, about 1 .87 mg/ml, about 1 .88 mg/ml, 20                 In some embodiments , sodium citrate dihydrate is present
  about 1. 89 mg/ml, about 1. 9 mg/mL , about 1.91 mg/mL ,                  in about 0 . 1 to about 0 . 8 mg/ml in the oral liquid formula
   about 1.92 mg/mL , about 1. 93 mg/mL , about 1. 94 mg/mL,               tion . In other embodiments, sodium citrate dihydrate is
   about 1. 95 mg/mL , about 1. 96 mg/mL , about 1. 97 mg/mL,              present in the oral liquid formulation is about 0 . 1 mg/mL,
   about 1 . 98 mg/mL, about 1. 99 mg/mL , or about 2 mg/mL in              about 0 . 11 mg/mL , about 0 . 12 mg/mL, about 0 . 13 mg/mL ,
  the oral liquid formulation . In some embodiments , citric acid 25 about 0 . 14 mg/mL , about 0 .15 mg/ml, about 0 . 16 mg/mL ,
  is present in about 1.65 mg/ml in the oral liquid formulation            about 0 . 17 mg/mL , about 0 . 18 mg/mL , about 0 .19 mg/mL ,
  In some embodiments , citric acid is present in about 1.82               about 0 .2 mg/ml, about 0 .21 mg/ml, about 0 .22 mg/ml,
  mg/mlin the oral liquid formulation . In some embodiments,                about 0 . 23 mg/ml, about 0 .24 mg/ml, about 0 . 25 mg/ml,
  citric acid is present in about 0 .82 mg/ml in the oral liquid   about 0 . 26 mg/ml, about 0 .27 mg/ml, about 0 .28 mg/ml,
   formulation .                                                30 about 0 .29 mg/ml, about 0 . 3 mg/ml, about 0 .31 mg/ml,
     In some embodiments , citric acid is present in about 2 to    about 0 .32 mg/ml, about 0 .33 mg/ml, about 0 .34 mg/ml,
   about 3 . 5 mg/ml in the oral liquid formulation . In other              about 0 .35 mg/ml, about 0 . 36 mg/ml, about 0 . 37 mg/ml,
  embodiments , citric acid is present in about 2 mg/mL , about            about 0 . 38 mg/ml, about 0 .39 mg/ml, about 0 .4 mg/ml,
   2 .05 mg/mL , about 2 . 1 mg/mL , about 2 . 15 mg/mL , about             about 0 . 41 mg/ml, a bout 0 . 42 mg/ml, about 0 .43 mg/ml,
   2 .2 mg/mL , about 2 .25 mg/mL , about 2 . 3 mg/mL , about 35 about 0 . 44 mg/ml, about 0 .45 mg/ml, about 0 . 46 mg/ml,
   2 . 35 mg/mL , about 2 .4 mg/mL, about 2 .45 mg/mL, about                about 0 .47 mg/ml, about 0 . 48 mg/ml, about 0 .49 mg/ml,
   2 .5 mg/mL , about 2 .55 mg/mL , about 2 .6 mg/mL , about               about 0 .5 mg/ml, about 0 .51 mg/ml, about 0 .52 mg/ml,
   2 .65 mg/mL , about 2 .7 mg/mL , about 2 . 75 mg/mL , about             about 0 .53 mg/ml, about 0 .54 mg/ml, about 0 .55 mg/ml,
   2 .8 mg/mL, about 2 . 85 mg/mL , about 2 .9 mg/mL, about about 0 .56 mg/ml, about 0 . 57 mg/ml, about 0 .58 mg/ml,
   2 .95 mg/mL, about 3 mg/mL , about 3 .05 mg/ml, about 3 . 1 40 about 0 . 59 mg/ml, about 0 .6 mg/ml, about 0 .61 mg/ml,
  mg/mL , about 3 . 15 mg/mL , about 3 . 2 mg/mL , about 3 . 25            about 0 .62 mg/ml, about 0 .63 mg/ml, about 0 .64 mg/ml,
  mg/mL , about 3 . 3 mg/mL , about 3 . 35 mg/mL , about 3 .4               about 0 .65 mg/ml, about 0 .66 mg/ml, about 0 .67 mg/ml,
  mg/mL , about 3 .45 mg/mL , or about 3.5 mg/mL in the oral                about 0 .68 mg/ml, about 0 .69 mg/ml, about 0 .7 mg/ml,
  liquid formulation. In some embodiments , citric acid is                  about 0 .71 mg/ml, about 0 . 72 mg/ml, about 0 .73 mg/ml,
  present in about 3 . 3 mg/ml in the oral liquid formulation . 45 about 0 .74 mg/ml, about 0 .75 mg/ml, about 0 . 76 mg/ml,
     In some embodiments , citric acid is present in about 10 %            about 0 .77 mg/ml, about 0 . 78 mg/ml, about 0 .79 mg/ml, or
  w / w to about 50 w / w of the solids in the oral liquid                 about 0 . 8 mg/ml in the oral liquid formulation . In some
  formulation . In other embodiments , citric acid is present in           embodiments , sodium citrate dihydrate is present in about
  about 10 % w / w , about 11 % w /w , about 12 % w / w , about 13 %       0 .75 mg/ml in the oral liquid formulation . In some embodi
   w / w , about 14 % w /w , about 15 w /w , about 16 % w /w , about 50 ments , sodium citrate dihydrate is present in about 0 .35
   17 % w /w , about 18 % w /w , about 19 % w / w , about 20 % w /w , mg/ml in the oral liquid formulation . In some embodiments ,
   about 21 % w / w , about 22 % w /w , about 23 % w / w , about 24 %    sodium citrate dihydrate is present in about 0 . 2 mg/ml in the
   w / w , about 25 w /w , about 26 % w /w , about 27 % w / w , about       oral liquid formulation . In some embodiments , sodium cit
  28 % w /w , about 29 % w /w , about 30 % w / w , about 31 % w /w      rate dihydrate is present in about 0 . 15 mg/ml in the oral
  about 32 % w / w , about 33 % w /w , about 34 % w / w , about 35 % 55 liquid formulation .
   w / w , about 36 % w /w , about 37 % w /w , about 38 % w /w ,               In some embodiments , sodium citrate dihydrate is present
  about 39 % w / w , about 40 % w / w , about 41 % w / w , about 42 %       in about 1 w / w to about 15 % w /w of the solids in the oral
  w / w , about 43 % w /w , about 44 % w /w , about 45 w /w , about liquid formulation . In other embodiments , sodium citrate
  46 % w /w , about 47 % w / w , about 48 % w / w , about 49 % w /w , dihydrate is present in about 1 w /w , about 1. 1 % w / w , about
  about 50 % w / w of the solids in the oral liquid formulation . 60 1. 2 % w / w , about 1 . 3 % w /w , about 1 .4 % w /w , about 1 . 5 %
  In some embodiments , citric acid is present in about 45 w /w       w /w , about 1 .6 % w /w , about 1. 7 % w / w , about 1 . 8 % w / w ,
  of the solids in the oral liquid formulation . In some embodi-           about 1 . 9 % w / w , about 2 % w / w , about 2 . 1 % w / w , about
  ments , citric acid is present in about 31 % w /w of the solids 2. 2 % w / w , about 2 .3 % w /w , about 2 .4 % w /w , about 2. 5 w /w ,
  in the oral liquid formulation . In some embodiments, citric         about 2 .6 % w / w , about 2 .7 % w / w , about 2 . 8 % w /w , about
  acid is present in about 35 w /w of the solids in the oral liquid 65 2. 9 % w /w , about 3 % w /w , about 3 . 1 % w /w , about 3 . 2 % w / w ,
   formulation . In some embodiments , citric acid is present in            about 3 . 3 % w / w , about 3 . 4 % w /w , about 3 . 5 w / w , about
   about 19 % w / w of the solids in the oral liquid formulation .          3 .6 % w / w , about 3 .7 % w /w , about 3 . 8 % w / w , about 3 . 9 %
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                                                              US 9 ,808,442 B2
                                                                                                                  18
   w /w , about 4 % w /w , about 4.5 w / w , about 5 w /w , about 5 .5           derivatives (carboxymethylcellulose and its salts, ethylcel
   w /w , about 6 % w / w , about 6 .5 w / w , about 7 % w /w , about 7.5        lulose, hydroxyethyl cellulose , methylcellulose, hypromel
   w /w , about 8 % w /w , about 8.5 w /w , about 9 % w /w , about 9.5           lose , and the like ) starches, pectin, polyethylene glycol,
   w / w , about 10 % w /w , about 10 .5 w / w , about 11 w / w , about          polyethylene oxide , trehalose and certain gums ( xanthan
   11 .5 w / w , about 12 % w / w , about 12 . 5 w / w , about 13 % w / w , 5 gum , locust bean gum , etc . ). In certain embodiments , the
  about 13 . 5 w /w , about 14 % w / w , about 14 .5 w / w , about 15            enalapril liquid formulation comprises a thickener.
  w /w of the solids in the oral liquid formulation . In some                       Additional excipients are contemplated in the enalapril
  embodiments , sodium citrate dihydrate is present in about                     liquid formulation embodiments . These additional excipi
  10 .5 w /w of the solids in the oral liquid formulation . In some              ents are selected based on function and compatibility with
   embodiments , sodium citrate dihydrate is present in about 10 the enalapril liquid formulations described herein and may
  7 . 5 w /w of the solids in the oral liquid formulation . In some              be found , for example in Remington : The Science and
  embodiments, sodium citrate dihydrate is present in about                      Practice of Pharmacy , Nineteenth Ed ( Easton , Pa.: Mack
   4 .5 w /w of the solids in the oral liquid formulation . In some              Publishing Company, 1995 ); Hoover , John E ., Remington 's
  embodiments, sodium citrate dihydrate is present in about Pharmaceutical Sciences, (Easton , Pa .: Mack Publishing Co
  2 . 9 % w / w of the solids in the oral liquid formulation . 15 1975 ); Liberman , H . A . and Lachman , L ., Eds ., Pharma
     In other embodiments, sodium citrate dihydrate is not                       ceutical Dosage Forms (New York , N . Y .: Marcel Decker
  added to the formulation .                                                     1980 ); and Pharmaceutical Dosage Forms and Drug Deliv
  Additional Excipients                                                          ery Systems, Seventh Ed (Lippincott Williams & Wilkins
     In further embodiments , the enalapril liquid formulation                   1999 ), herein incorporated by reference in their entirety .
  described herein comprises additional excipients including,               20   Stability
  but not limited to , glidants, flavoring agents , coloring agents                 The main enalapril degradants are enalapril diketopipera
  and thickeners. Additional excipients such as bulking agents,                  zine and enalaprilat.
   tonicity agents and chelating agents are within the scope of                     The enalapril oral liquid formulations described herein are
  the embodiments.                                                               stable in various storage conditions including refrigerated ,
     Glidants are substances that improve flowability of a 25 ambient and accelerated conditions. Stable as used herein
  powder. Suitable glidants include, but are not limited to ,                    refers to enalapril oral liquid formulations having about 95 %
  calcium phosphate tribasic , calcium silicate , cellulose (pow                 or greater of the initial enalapril amount and about 5 % w / w
  dered ), colloidal silicon dioxide, magnesium silicate , mag -                 or less total impurities or related substances at the end of a
  nesium trisilicate , silicon dioxide , starch , talc and the like. In          given storage period . The percentage of impurities is calcu
  some embodiments , the enalapril powder formulations 30 lated from the amount of impurities relative to the amount of
  described herein comprise a glidant. In some embodiments enalapril . Stability is assessed by HPLC or any other known
   the glidant is not colloidal silicon dioxide.                                 testing method . In some embodiments , the stable enalapril
     In another embodiment, the enalapril liquid formulation                     oral liquid formulations have about 5 % w / w , about 4 % w / w ,
  comprises a flavoring agent or flavorant to enhance the taste                  about 3 % w /w , about 2 .5 % w / w , about 2 % w / w , about 1 .5 %
  or aroma of the formulation in liquid form . Suitable natural 35 w /w , about 1 % w / w , or about 0 .5 % w /w total impurities or
  or synthetic flavoring agents can be selected from standard                    related substances . In other embodiments, the stable enal
  reference books , for example Fenaroli' s Handbook of Flavor                   april oral liquid formulations have about 5 % w / w total
   Ingredients, 3rd edition (1995 ). Non -limiting examples of                   impurities or related substances . In yet other embodiments ,
  suitable natural flavors , some of which can readily be the stable enalapril oral liquid formulations have about 4 %
  simulated with synthetic agents or combinations thereof, 40 w /w total impurities or related substances . In yet other
   include almond, anise, apple , apricot, bergamot, blackberry ,                embodiments, the stable enalapril oral liquid formulations
  blackcurrant, blueberry , cacao , caramel, cherry , cinnamon ,                 have about 3 % w / w total impurities or related substances . In
  clove , coffee , coriander, cranberry , cumin , dill, eucalyptus ,             yet other embodiments, the stable enalapril oral liquid
  fennel, fig , ginger, grape , grapefruit , guava , hop , lemon ,               formulations have about 2 % w /w total impurities or related
  licorice, lime, malt, mandarin , molasses , nutmeg , mixed 45 substances. In yet other embodiments, the stable enalapril
  berry , orange , peach , pear , peppermint , pineapple , raspberry,            oral liquid formulations have about 1 % w /w total impurities
  rose, spearmint, strawberry, tangerine , tea , vanilla , winter                or related substances .
   green , etc . Also useful, particularly where the formulation is                 At refrigerated condition , the enalapril oral liquid formu
   intended primarily for pediatric use , is tutti- frutti or bubble -           lations described herein are stable for at least 1 month , at
   gum flavor, a compounded flavoring agent based on fruit 50 least 2 months, at least 3 months, at least 6 months, at least
   flavors . Presently preferred flavoring agents include anise , 9 months, at least 12 months, at least 15 months, at least 18
   cinnamon, cacao , orange, peppermint, cherry (in particular                   months, at least 24 months, at least 30 months and at least
  wild cherry ), grape, bubblegum , vanilla , and mixed berry . In               36 months. In some embodiments , refrigerated condition is
  some embodiments, the enalapril liquid formulation                             5 - 3° C . In some embodiments , refrigerated condition is
  described herein comprises a mixed berry flavoring agent. 55 about 2° C ., about 2 .1° C ., about 2.2° C ., about 2.3° C .,
  Flavoring agents can be used singly or in combinations of                      about 2 .4° C ., about 2 .5° C ., about 2 .6° C ., about 2 .7° C ..
  two or more .                                                                  about 2 . 8° C ., about 2 . 9° C ., about 3° C ., about 3 . 1° C .,
     In further embodiments, the enalapril liquid formulation about 3 .2° C ., about 3 .3° C ., about 3.4° C ., about 3 .5° C .,
  comprises a coloring agent for identity and/ or aesthetic    about 3 .6° C ., about 3 .7° C ., about 3 . 8° C ., about 3 . 9° C .,
  purposes. Suitable coloring agents illustratively include 60 about 4° C ., about 4 .1° C ., about 4 .2° C ., about 4 .3° C .,
  FD & C Red No . 3 , FD & C Red No. 20 , FD & C Red No. 40 , about 4.4° C ., about 4 .5° C ., about 4.6° C ., about 4.7°                          C .,
  FD & C Yellow No. 6 , FD & C Blue No. 2 , FD & C Green No.    about 4 . 8° C ., about 4 . 9° C ., about 5° C ., about 5 . 1°                     C .,
  5 , FD & C Orange No. 5 , caramel, ferric oxide and mixtures about 5 .2° C ., about 5 .3° C ., about 5 .4° C ., about 5 .5º                      C .,
  thereof.                                                      about 5 .6° C ., about 5 .7° C ., about 5 .8° C ., about 5 . 9°                    C .,
      Thickeners impart viscosity or weight to the resultant 65 about 6° C ., about 6 . 1° C ., about 6 .2° C ., about 6 .3°                       C .,
  liquid forms from the enalapril formulation described about 6 .4° C ., about 6 .5° C ., about 6 .6° C ., about 6 .7°                             C .,
  herein . Exemplary thickeners include dextrin , cellulose                      about 6 .8° C ., about 6 .9° C ., about 7° C ., about 7. 1° C .,
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                                     19                                                                          20
   about 7 .2° C ., about 7 .3° C ., about 7 .4° C ., about 7 .5° C .,        present in about 10 .5 % w /w of the powder formulation . In
   about 7 .6° C ., about 7 . 7° C ., about 7 .8° C ., about 7 . 9° C ., or   some embodiments , enalapril is present in about 14 . 5 % w / w
   about 8° C . At accelerated conditions, the enalapril oral                 of the powder formulation . In some embodiments, enalapril
   liquid formulations described herein are stable for at least 1             is present in about 18 % w /w of the powder formulation .
  month , at least 2 months, at least 3 months, at least 4 months , 5    In some embodiments , enalapril or a pharmaceutically
  at least 5 months, at least 6 months, at least 7 months, at least   acceptable salt thereof, is present in about 0 . 1 % w / w to
   8 months, at least 9 months, at least 10 months, at least 11               about 1 w /w of the powder formulation . In other embodi
  months or at least 12 months. Accelerated conditions for the                ments , enalapril or a pharmaceutically acceptable salt
   enalapril oral liquid formulations described herein include                thereof, is present in about 0 . 1 % w /w , about 0 . 15 % w /w ,
  temperature and/or relative humidity (RH ) that are at or 10 about 0 .2 % w /w , about 0 .25 % w / w , about 0 . 3 % w /w , about
  above ambient levels ( e . g . 25 + 5° C .; 55 + 10 % RH ). In some         0 .35 % w / w , about 0 . 4 % w / w , about 0 .45 % w / w , about 0 .5 %
   instances, an accelerated condition is at about 25° C ., about             w /w , about 0 .55 % w /w , about 0 .6 % w /w , about 0 .65 % w / w ,
   30° C ., about 35° C ., about 40° C ., about 45° C ., about 50°            about 0 .7 % w / w , about 0.75 % w /w , about 0 .8 % w /w , about
   C ., about 55° C . or about 60° C . In other instances , an                0 . 85 % w / w , about 0 . 9 % w / w , about 0 . 95 % w / w , or about 1 %
  accelerated condition is above 55 % RH , about 65 % RH , 15 w /w of the powder formulation . In some embodiments ,
   about 70 % RH , about 75 % RH or about 80 % RH . In further                enalapril or a pharmaceutically acceptable salt thereof, is
   instances, an accelerated condition is about 40° C . or 60° C .            present in about 0 .4 % w /w to about 0 . 7 % w /w of the powder
  at ambient humidity . In yet further instances, an accelerated              formulation . In some embodiments, enalapril maleate is
   condition is about 40° C . at 75 + 5 % RH humidity .                       present in about 0 .45 % w /w of the powder formulation . In
  Enalapril Oral Powder Formulation                          20 some embodiments , enalapril maleate is present in about
     In another aspect, enalapril oral liquid formulations      0 .6 % w / w of the powder formulation . In some embodi
  described herein are prepared from the reconstitution of an ments , enalapril is present in about 0 . 4 % w /w of the powder
   enalapril powder formulation . In some embodiments , the                   formulation . In some embodiments , enalapril is present in
  enalapril powder formulation comprising enalapril, a sweet        about 0 .5 % w / w of the powder formulation .
  ener, a preservative , and optionally an excipient is dissolved 25 Various amounts and concentrations of other components
  in water, a buffer, other aqueous solvent, or a liquid to form    ( sweeteners , buffers , preservatives , and the like) in the
  an enalapril oral liquid formulation . In one embodiment, the     enalapril powder formulations are found in the previous
  sweetening agent is sucralose . In one embodiment, the                      section describing the amounts and concentrations for the
  sweetener is not mannitol. In one embodiment, the sweet -       analogous enalapril oral liquid formulations. For example , in
  ening agent is xylitol. In another embodiment, the preser - 30 some embodiments where sucralose is present in about 1 %
  vative is sodium benzoate . In one embodiment, the preser -     w / w to about 30 % w / w of the solids in the oral liquid
  vative is a paraben preservative . In one aspect, the enalapril formulation ; in an analogous enalapril powder formulation ,
  powder formulation described herein comprises enalapril,                    sucralose would be about 1 w / w to about 30 % w / w in the
  sucralose , and sodium benzoate . In some embodiments, the                  powder formulation . In some embodiments where sodium
   enalapril powder formulation herein further comprises a 35 benzoate is present in about 1 w / w to about 30 % w / w of the
   flavoring agent. In some embodiments , the enalapril powder                solids in the oral liquid formulation , in an analogous enal
  formulation herein further comprises one or more buffering                  april powder formulation sodium benzoate is present in
  agents .                                                                    about 1 w / w to about 30 % w / w in the powder formulation .
      In some embodiments , enalapril or a pharmaceutically                     Liquid vehicles suitable for the enalapril powder formu
  acceptable salt thereof, is present in about 0 . 5 % w / w to 40 lations to be reconstituted into an oral solution described
  about 30 % w / w of the powder formulation . In other embodi-               herein are selected for a particular oral liquid formulation
  ments, enalapril or a pharmaceutically acceptable salt                      (solution , suspension , etc .) as well as other qualities such as
  thereof, is present in about 0 . 5 w / w , about 1 w / w , about 1 . 5      clarity , toxicity , viscosity , compatibility with excipients ,
  w /w , about 2 % w / w , about 2 .5 w /w , about 3 % w / w , about 3 .5     chemical inertness, palatability, odor, color and economy.
   w / w , about 4 % w /w , about 4 . 5 w /w , about 5 w /w , about 5 .5 45 Exemplary liquid vehicles include water, ethyl alcohol,
   w / w , about 6 % w / w , about 6 .5 w /w , about 7 % w /w , about 7.5     glycerin , propylene glycol, syrup (sugar or other sweetener
  w /w , about 8 % w / w , about 8 .5 w /w , about 9 % w / w , about 9 .5     based , e .g ., Ora - Sweet® SF sugar- free flavored syrup ),
  w / w , about 10 % w /w , about 10 .5 w /w , about 11 w /w , about          juices ( apple , grape , orange , cranberry , cherry, tomato and
   11 . 5 w /w , about 12 % w /w , about 12 . 5 w /w , about 13 % w /w ,      the like ), other beverages (tea , coffee , soft drinks , milk and
  about 13 .5 % w /w , about 14 % w /w , about 14 .5 w /w , about 15 50 the like), oils (olive, soybean , corn , mineral, castor and the
   w / w , about 15 .5 w /w , about 16 % w /w , about 16 .5 w / w , about     like ), and combinations or mixtures thereof. Certain liquid
   17 % w /w , about 17 .5 w /w , about 18 % w /w , about 18 .5 w /w          vehicles, e. g ., oil and water, can be combined together to
   about 19 % w / w , about 19 .5 w / w , about 20 % w / w , about 20 .5      form emulsions. In some embodiments, water is used for as
   w / w , about 21 % w / w , about 21. 5 w / w , about 22 % w / w , about    a vehicle for a enalapril oral liquid formulation . In other
   22 .5 w /w , about 23 % w /w , about 23 .5 w /w , about 24 % w /w , 55 embodiments , a syrup is used for as a vehicle for a enalapril
  about 24 .5 w /w , about w / w , about 25 .5 w / w , about 26 % w /w ,      oral liquid formulation . In yet other embodiments , a juice is
  about 26 .5 w / w , about 27 % w /w , about 27 .5 w /w , about 28 %         used for as a vehicle for a enalapril oral liquid formulation .
  w / w , about 28 .5 w /w , about 29 % w /w , about 29.5 w /w , or             Buffering agents maintain the pH of the liquid enalapril
   about 30 % w /w of the powder formulation . In some embodi-                formulation . Non -limiting examples of buffering agents
  ments , enalapril or a pharmaceutically acceptable salt 60 include , but are not limited to sodium bicarbonate , potas
   thereof, is present in about 10 % w / w to about 25 w / w of the sium bicarbonate , magnesium hydroxide, magnesium lac
  powder formulation . In some embodiments , enalapril                        tate ,magnesium gluconate, aluminum hydroxide , aluminum
  maleate is present in about 13 .5 w / w of the powder formu-                hydroxide/sodium bicarbonate co precipitate , mixture of an
  lation . In some embodiments , enalaprilmaleate is present in               amino acid and a buffer, a mixture of aluminum glycinate
  about 19 . 5 w / w of the powder formulation . In some embodi- 65 and a buffer , a mixture of an acid salt of an amino acid and
  ments , enalapril maleate is present in about 24 .5 w / w of the  a buffer, and a mixture of an alkali salt of an amino acid and
  powder formulation . In some embodiments , enalapril is                     a buffer. Additional buffering agents include citric acid ,
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                                  21                                                                    22
  sodium citrate , sodium tartrate , sodium acetate , sodium     Additional excipients are contemplated in the enalapril
  carbonate, sodium polyphosphate, potassium polyphos          powder formulation embodiments . These additional excipi
  phate , sodium pyrophosphate, potassium pyrophosphate , ents are selected based on function and compatibility with
  disodium hydrogenphosphate, dipotassium hydrogenphos         the the enalapril powder formulation described herein and
  phate, trisodium phosphate, tripotassium phosphate, sodium 5 may be found , for example in Remington: The Science and
  acetate , potassium metaphosphate, magnesium oxide , mag
  nesium hydroxide, magnesium carbonate, magnesium sili Practice
                                                               Publishing
                                                                         of Pharmacy , Nineteeth Ed ( Easton , Pa.: Mack
                                                                           Company , 1995 ); Hoover, John E ., Remington 's
  cate , calcium acetate , calcium glycerophosphate , calcium  Pharmaceutical   Sciences , (Easton , Pa.:Mack Publishing Co
  chloride , calcium hydroxide , calcium lactate , calcium car           1975 ) ; Liberman , H . A . and Lachman , L ., Eds., Pharma
  bonate , calcium bicarbonate , and other calcium salts . Some 1010 ceutical Dosage Forms (New York , N . Y .: Marcel Decker
  buffering agents also impart effervescent qualities when a 1980 ); and Pharmaceutical Dosage Forms and Drug Deliv
  powder is reconstituted in a solution .
     In some embodiments , the reconstituted oral liquid for ery         Systems, Seventh Ed (Lippincott Williams & Wilkins
                                                                      1999 ), herein incorporated by reference in their entirety .
  mulation comprises a buffer. In some embodiments, the
  buffer comprises citric acid and sodium citrate .                 15 In some embodiments , the enalapril oral liquid formula
  In further embodiments , the enalapril powder formulation tion prepared from the powder formulations described
  described herein comprises additional excipients including , herein are homogenous. Homogenous liquids as used herein
  but not limited to , glidants , flavoring agents , coloring agents refer to those liquids that are uniform in appearance , identity ,
   and thickeners. Additional excipients such as bulking agents,         consistency and drug concentration per volume. Non -ho
  tonicity agents and chelating agents are within the scope of 20 mogenous liquids include such liquids that have varied
  the embodiments .                                               coloring, viscosity and /or aggregation of solid particulates,
     Glidants are substances that improve flowability of a               as well as non -uniform drug concentration in a given unit
  powder. Suitable glidants include, but are not limited to ,            volume. Homogeneity in liquids are assessed by qualitative
  calcium phosphate tribasic , calcium silicate , cellulose (pow         identification or appearance tests and /or quantitative HPLC
  dered ) , colloidal silicon dioxide , magnesium silicate , mag - 25 testing or the like . The mixing methods and excipients
  nesium trisilicate, silicon dioxide , starch , talc and the like. In   described herein are selected to impart a homogenous qual
  some embodiments, the enalapril powder formulations                    ity to a resultant enalapril oral liquid formulation .
  described herein comprise a glidant .                                    Mixing methods encompass any type ofmixing that result
     In another embodiment, the enalapril powder formulation      in a homogenous enalapril oral liquid formulation . In some
  described herein comprises a flavoring agent or flavorant to 30 embodiments , a quantity of an enalapril powder formulation
  enhance the taste or aroma of the formulation in liquid form .         is added to a liquid vehicle and then mixed by a stirring ,
  Suitable natural or synthetic flavoring agents can be selected         shaking , swirling, agitation element or a combination
  from standard reference books, for example Fenaroli' s                 thereof. In certain instances, a fraction of a enalapril powder
  Handbook of Flavor Ingredients, 3rd edition (1995 ). Non -             formulation (i.e ., one -half, one - third , one -fourth , etc.) is
   limiting examples of suitable natural flavors , some of which 35 added to a liquid vehicle , mixed by stirring, shaking , swirl
  can readily be simulated with synthetic agents or combina - ing, agitation or a combination thereof, and the subsequent
  tions thereof, include almond , anise , apple , apricot, berga - powder fraction ( s ) is added and mixed . In other embodi
  mot, blackberry , blackcurrant, blueberry, cacao, caramel,             ments, a liquid vehicle is added to an enalapril powder
   cherry, cinnamon , clove, coffee , coriander, cranberry , cumin ,     formulation in a container, for example, a bottle , vial, bag ,
  dill, eucalyptus , fennel, fig , ginger, grape , grapefruit, guava , 40 beaker, syringe , or the like. The container is then mixed by
  hop , lemon , licorice , lime, malt , mandarin , molasses, nut-        stirring, shaking, swirling, agitation , inversion or a combi
  meg , mixed berry , orange , peach , pear, peppermint, pine-           nation thereof . In certain instances, a fractional volume of
  apple, raspberry , rose , spearmint, strawberry, tangerine, tea ,      the liquid vehicle (i.e ., one -half , one-third , one - fourth vol
  vanilla , wintergreen , etc . Also useful, particularly where the      ume, etc .) is added to a enalapril powder formulation in a
   formulation is intended primarily for pediatric use , is tutti- 45 container, mixed by stirring, shaking , swirling, agitation ,
  frutti or bubblegum flavor, a compounded flavoring agent               inversion or a combination thereof; and the subsequent
  based on fruit flavors . Presently preferred flavoring agents          liquid fraction (s ) is added and mixed . In certain instances, a
   include anise , cinnamon , cacao, orange , peppermint, cherry         one-half fractional volume of the liquid vehicle is added to
  (in particular wild cherry ), grape, bubblegum , vanilla , and         an enalapril powder formulation in a container and mixing
  mixed berry . Flavoring agents can be used singly or in 50 by shaking ; the other one -half fractional volume of the
  combinations of two or more .                                          liquid vehicle is then subsequently added and mixed. In any
     In further embodiments, the enalapril powder formulation            of the above embodiments, mixing (i.e., stirring , shaking,
  described herein comprises a coloring agent for identity               swirling, agitation , inversion or a combination thereof)
  and/ or aesthetic purposes . Suitable coloring agents illustra -       occurs for a certain time intervals such as about 10 seconds ,
  tively include FD & C Red No. 3 , FD & C Red No . 20 , FD & C 55 about 20 seconds, about 30 seconds, about 45 seconds , about
  Red No. 40 , FD & C Yellow No. 6 , FD & C Blue No. 2 , D & C     60 seconds, about 90 seconds, about 120 seconds, about 2 .5
  Green No . 5 , D & C Orange No. 5 , caramel, ferric oxide and minutes , about 3 minutes , about 3 .5 minutes, about 4 min
  mixtures thereof.                                                utes, or about 5 minutes . In embodiments , where there are
     In further embodiments, the enalapril powder formulation      two or more mixing steps , the time intervals for each mixing
  described herein comprises a thickener. Thickeners impart 60 can be the same ( e . g ., 2x10 seconds) or different ( e . g ., 10
   viscosity or weight to the resultant liquid forms from the            seconds for first mixing and 20 seconds for second mixing)
  enalapril formulation described herein . Exemplary thicken -           In any of the above embodiments , a enalapril oral liquid
  ers include dextrin , cellulose derivatives (carboxymethyl- formulation is allowed to stand for a period of time such as
  cellulose and its salts , ethylcellulose , hydroxyethyl cellu - about 10 minutes , about 20 minutes , about 30 minutes , about
  lose, methylcellulose , hypromellose , and the like ) starches , 65 45 minutes, about 1 hour, about 1.5 hours or about 2 hours ,
  pectin , polyethylene glycol, polyethylene oxide , trehalose to allow any air bubbles resultant from any of the mixing
  and certain gums ( xanthan gum , locust bean gum , etc .).          methods to dissipate .
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   Stability of Enalapril Powder Formulation                                 package, container, vial and /or tube labels listing contents
      The enalapril powder formulations described herein are                 and/ or instructions for use, and package inserts with instruc
   stable in various storage conditions including refrigerated ,             tions for use associated with an enalapril powder or liquid
   ambient and accelerated conditions . Stable as used herein                formulation . A set of instructions will also typically be
  refer to enalapril powder formulations having about 95 % or 5 included .
   greater of the initial enalapril amount and 5 % w / w or less                 A label can be on or associated with the container. A label
  total impurities or related substances at the end of a given               can be on a container when letters , numbers or other
  storage period . The percentage of impurities is calculated                characters forming the label are attached , molded or etched
  from the amount of impurities relative to the amount of                    into the container itself ; a label can be associated with a
   enalapril. Stability is assessed by HPLC or any other known 10 container when it is present within a receptacle or carrier that
  testing method. In some embodiments, the stable enalapril                  also holds the container, e .g ., as a package insert. A label can
  powder formulations have about 5 % w /w , about 4 % w /w                   be used to indicate that the contents are to be used for a
  about 3 % w /w , about 2 .5 % w /w , about 2 % w /w , about 1.5 %          specific therapeutic application . The label can also indicate
   w / w , about 1 % w / w , or about 0 . 5 % w /w total impurities or        directions for use of the contents , such as in the methods
  related substances. In other embodiments, the stable enal- 15 described herein .
  april powder formulations have about 5 % w / w total impu -                Methods
  rities or related substances. In yet other embodiments , the                 Provided herein , in one aspect, are methods of treatment
   stable enalapril powder formulations have about 4 % w / w                  comprising administration of the enalapril oral liquid for
  total impurities or related substances. In yet other embodi-               mulations described herein to a subject . In some embodi
  ments , the stable enalapril powder formulations have about 20 ments, the enalapril oral liquid formulations described
   3 % w / w total impurities or related substances . In yet other           herein treat hypertension in a subject. Hypertension as used
  embodiments, the stable enalapril powder formulations have                 herein includes both primary essential) hypertension and
  about 2 % w /w total impurities or related substances. In yet              secondary hypertension . In certain instances, hypertension is
  other embodiments, the stable enalapril powder formula          classified in cases when blood pressure values are greater
  tions have about 1 % w / w total impurities or related sub - 25 than or equal to 140 / 90 (systolic /diastolic ) mm Hg in a
  stances .                                                       subject. In certain instances, the enalapril oral liquid formu
     At refrigerated and ambient conditions, in some embodi - lations described herein treat a subject having a blood
  ments, the enalapril powder formulations described herein       pressure values are greater than or equal to 140 / 90 mm Hg.
  are stable for at least 1 week , 2 weeks, 4 weeks, 6 weeks, 8               In certain instances, the enalapril oral liquid formulations
  weeks, 10 weeks, 12 weeks , 16 weeks, 20 weeks, at least 24 30 described herein treat primary (essential) hypertension in a
  weeks, at least 30 weeks, or at least 36 weeks. At accelerated             subject . In other instances , the enalapril oral liquid formu
  conditions, in some embodiments , the enalapril powder                     lations described herein treat secondary hypertension in a
   formulations described herein are stable for at least 1 week ,             subject.
  at least 2 weeks , at least 3 weeks, at least 4 weeks, at least        In other embodiments , the enalapril oral liquid formula
  5 weeks , at least 6 weeks , at least 7 weeks, at least 8 weeks, 35 tions described herein treat prehypertension in a subject .
   at least 9 weeks, at least 10 weeks , at least 11 weeks or at              Prehypertension as used herein refers to cases where a
   least 12 weeks. Accelerated conditions for the enalapril                   subject 's blood pressure is elevated above normal but not to
  powder formulations described herein include temperature                   the level considered to be hypertension . In some instances,
   and/ or relative humidity (RH ) that are above ambient levels              prehypertension is classified in cases when blood pressure
   ( e. g . 25 + 4° C .; 55 - 10 % RH ). In some instances , an accel- 40 values are 120 - 139 /80 - 89 mm Hg. In certain instances , the
  erated condition is at about 30° C ., about 35° C . , about 40°            enalapril oral liquid formulations described herein treat a
  C ., about 45° C ., about 50° C ., about 55° C . or about 60° C .          subject having blood pressure values of 120 - 139/80 -89 mm
  In other instances , an accelerated condition is above 65 %                Hg.
  RH , about 70 % RH , about 75 % RH or about 80 % RH . In                In yet other embodiments, the enalapril oral liquid for
  further instances, an accelerated condition is about 40° C . or 45 mulations described herein are prophylactically adminis
  60° C . at ambient humidity . In yet further instances , an        t ered to subjects suspected of having, predisposed to , or at
  accelerated condition is about 40° C . at 75 + 5 % RH humid         risk of developing hypertension . In some embodiments, the
  ity .                                                               administration of enalapril oral liquid formulations
  Kits and Articles of Manufacture                                     described herein allow for early intervention prior to onset
      For the enalapril powder and liquid formulations 50 of hypertension . In certain embodiments, upon detection of
  described herein , kits and articles of manufacture are also         a biomarker, environmental, genetic factor, or other marker,
  described . Such kits can comprise a carrier, package , or the enalapril oral liquid formulations described herein are
  container that is compartmentalized to receive one or more prophylactically administered to subjects.
  containers such as vials, tubes, and the like , each of the             In further embodiments, the enalapril oral liquid formu
  container( s ) comprising one of the separate elements to be 55 lations described herein treat heart failure ( e .g ., symptomatic
  used in a method described herein including an enalapril             congestive ), asymptomatic left ventricular dysfunction ,
  powder or liquid formulation . Suitable containers include, myocardial infarction , diabetic nephropathy and chronic
   for example , bottles, vials, syringes, and test tubes. The               renal failure . In certain instances, the enalapril oral liquid
  containers can be formed from a variety of materials such as                formulations described herein treat symptomatic congestive
  glass or plastic.                                                       60 heart failure . In other instances , the enalapril oral liquid
      A kit will typically may comprise one or more additional                formulations described herein treat asymptomatic left ven
  containers , each with one or more of variousmaterials (such               tricular dysfunction . In further instances , the enalapril oral
  as reagents , optionally in concentrated form , and /or devices )          liquid formulations described herein treatmyocardial infarc
  desirable from a commercial and user standpoint for an                     tion . In yet further instances, the enalapril oral liquid for
   enalapril powder or liquid formulation described herein . 65 mulations described herein treat diabetic nephropathy. In yet
  Non -limiting examples of such materials include , but not                  further instances , the enalapril oral liquid formulations
   limited to , buffers, diluents, filters, needles, syringes; carrier,      described herein treat chronic renal failure .
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  Dosing                                                                liquid formulations described herein are provided in a dose
     In one aspect, the enalapril oral liquid formulations are          per day of about 5 mg. In certain instances, the enalapril oral
  used for the treatment of diseases and conditions described           liquid formulations described herein are provided in a dose
  herein . In addition , a method for treating any of the diseases      per day of about 6 mg. In certain instances , the enalapril oral
  or conditions described herein in a subject in need of such 5 liquid formulations described herein are provided in a dose
  treatment, involves administration of enalapril oral liquid          per day of about 7 mg. In certain instances, the enalapril oral
  formulations in therapeutically effective amounts to said            liquid formulations described herein are provided in a dose
   subject.                                                             per day of about 8 mg. In certain instances , the enalapril oral
     Dosages of enalapril oral liquid formulations described            liquid formulations described herein are provided in a dose
  can be determined by any suitable method. Maximum tol- 10 per day of about 9 mg. In certain instances, the enalapril oral
  erated doses (MTD ) and maximum response doses (MRD ) liquid formulations described herein are provided in a dose
  for enalapril and/ or enalaprilat can be determined via estab - per day of about 10 mg. In certain instances, the enalapril
   lished animal and human experimental protocols as well as            oral liquid formulations described herein are provided in a
   in the examples described herein . For example , toxicity and        dose per day of about 11 mg. In certain instances, the
  therapeutic efficacy of enalapril and /or enalaprilat can be 15 enalapril oral liquid formulations described herein are pro
  determined by standard pharmaceutical procedures in cell              vided in a dose per day of about 12 mg. The dose per day
  cultures or experimental animals, including, but not limited          described herein can be given once per day or multiple times
  to , for determining the LD50 ( the dose lethal to 50 % of the per day in the form of sub -doses given b .i.d ., t.i.d ., q.i.d ., or
  population ) and the ED50 (the dose therapeutically effective the like where the number of sub - doses equal the dose per
  in 50 % of the population ). The dose ratio between the toxic 20 day.
  and therapeutic effects is the therapeutic index and it can be     In further embodiments , the daily dosages appropriate for
  expressed as the ratio between LDs, and ED50 . Enalapril              the enalapril oral liquid formulations described herein are
  dosages exhibiting high therapeutic indices are of interest.          from about 0 .01 to about 1 .0 mg/kg per body weight. In one
  The data obtained from cell culture assays and animal embodiment, the daily dosages appropriate for the enalapril
  studies can be used in formulating a range of dosage for use 25 oral liquid formulations are from about 0 .02 to about 0 . 8
   in human . The dosage of such compounds lies preferably             mg/kg enalapril per body weight. In another embodiment,
  within a range of circulating concentrations that include the the daily dosage appropriate for the enalapril oral liquid
  EDs, with minimal toxicity . The dosage may vary within             formulations are from about 0 .05 to about 0 .6 mg/kg per
  this range depending upon the dosage form employed and body weight. In another embodiment, the daily dosage
  the route of administration utilized . Additional relative dos - 30 appropriate for the enalapril oral liquid formulations is about
  ages , represented as a percent of maximal response or of 0 .05 mg/kg, about 0 . 06 mg/kg, about 0 .07 mg/kg, about 0 . 08
  maximum tolerated dose , are readily obtained via the pro -          mg/kg , about 0 . 10 mg/kg, about 0 .15 mg/kg , about 0 .20
  tocols .                                                             mg/kg , about 0 .25 mg/kg , about 0 .30 mg/kg , about 0 .40
     In some embodiments, the amount of a given enalapril              mg/kg , about 0 .50 mg/kg , or about 0.60 mg/kg .
  oral liquid formulation that corresponds to such an amount 35 In other embodiments the enalapril oral liquid formula
  varies depending upon factors such as the particular enal- tions are provided at themaximum tolerated dose (MTD ) for
   april salt or form , disease condition and its severity, the         enalapril and/ or enalaprilat. In other embodiments, the
  identity (e.g., weight, sex ) of the subject or host in need of amount of the enalapril oral liquid formulations adminis
  treatment, but can nevertheless be determined according to        tered is from about 10 % to about 90 % of the maximum
  the particular circumstances surrounding the case, including , 40 tolerated dose (MTD ), from about 25 % to about 75 % of the
  e .g ., the specific agent being administered , the liquid com - MTD , or about 50 % of the MTD . In particular embodiments ,
  position type , the condition being treated , and the subject or the amount of the enalapril oral liquid formulations admin
  host being treated .                                              istered is from about 5 % , 10 % , 15 % , 20 % , 25 % , 30 % , 35 % ,
      In some embodiments , the enalapril oral liquid formula       40 % , 45 % , 50 % , 55 % , 60 % , 65 % , 70 % , 75 % , 80 % , 85 % ,
  tions described herein are provided in a dose per day from 45 90 % , 95 % , 99 % , or higher, or any range derivable therein ,
  about 0 .01mg to 100 mg, from about 0 . 1 mg to about 80 mg,     of the MTD for enalapril and/ or enalaprilat.
  from about 1 to about 60 , from about 2 mg to about 40 mg           In further embodiments, the enalapril oral liquid formu
  of enalapril. In certain embodiments , the enalapril oral liquid lations are provided in a dosage that is similar, comparable
   formulations described herein are provided in a daily dose of        or equivalent to a dosage of a known enalapril tablet
  about 0 . 01 mg, about 0 .05 mg, about 0 .1 mg, about 0 .2 mg, 50 formulation . In other embodiments, the enalapril oral liquid
  about 0 .4 mg, about 0 .6 mg, about 0 . 8 mg, about 1 mg, about formulations are provided in a dosage that provides a
  1 .5 mg, about 2 mg, about 2 .5 mg, about 3 mg, about 4 mg, similar, comparable or equivalent pharmacokinetic param
  about 5 mg, about 6 mg, about 7 mg, about 8 mg, about 9           eters ( e. g ., AUC , Cmor , Tmare Cmin , T12 ) as a dosage of a
  mg, about 10 mg, about 11 mg, about 12 mg, about 15 mg, known enalapril tablet formulation . Similar, comparable or
  about 20 mg, about 25 mg, about 30 mg, about 35 mg, about 55 equivalent pharmacokinetic parameters, in some instances ,
  40 mg, about 45 mg, about 50 mg, about 55 mg, about 60 refer to within 80 % to 125 % , 80 % to 120 % , 85 % to 125 % ,
  mg, about 65 mg, about 70 mg, about 76 , mg, about 80 mg,         90 % to 110 % , or increments therein , of the given values. It
  about 85 mg, about 90 mg or about 100 mg, or any range should be recognized that the ranges can , but need not be
  derivable therein . In certain instances, the enalapril oral symmetrical, e . g ., 85 % to 105 % .
  liquid formulations described herein are provided in a dose 60 Administration
  per day of about 1 mg. In certain instances, the enalapril oral         Administration of an enalapril oral liquid formulation is at
  liquid formulations described herein are provided in a dose           a dosage described herein or at other dose levels and
  per day of about 2 mg. In certain instances , the enalapril oral      formulations determined and contemplated by a medical
  liquid formulations described herein are provided in a dose practitioner. In certain embodiments , the enalapril oral liquid
  per day of about 3 mg. In certain instances, the enalapril oral 65 formulations described herein are administered for prophy
  liquid formulations described herein are provided in a dose        lactic and /or therapeutic treatments. In certain therapeutic
  per day of about 4 mg. In certain instances, the enalapril oral       applications, the enalapril oral liquid formulations are
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   administered to a patient already suffering from a disease ,              12 hours . In other embodiments , an enalapril oral liquid
  e . g ., hypertension , in an amount sufficient to cure the disease        formulation is administered to a subject who has fasted
  or at least partially arrest or ameliorate the symptoms, e . g .,          overnight.
  lower blood pressure . Amounts effective for this use depend                  In other embodiments an enalapril oralliquid formulation
  on the severity of the disease , previous therapy , the patient' s 5 is administered to a subject who is in a fed state . A fed state
  health status, weight, and response to the enalapril formu- refers to a subject who has taken food or has had a meal. In
   lations, and the judgment of the treating physician . Thera -             certain embodiments , an enalapril oral liquid formulation is
  peutically effective amounts are optionally determined by                  administered to a subject in a fed state 5 minutes post -meal,
  methods including, but not limited to , a dose escalation                  10 minutes post-meal, 15 minutes post-meal, 20 minutes
   clinical trial.                                                        10 post-meal, 30 minutes post -meal, 40 minutes post -meal, 50
     In prophylactic applications , the enalapril oral liquid                minutes post-meal, 1 hour post-meal, or 2 hours post -meal.
  formulations described herein are administered to a patient                In certain instances , an enalapril oral liquid formulation is
  susceptible to or otherwise at risk of a particular disease ,       administered to a subject in a fed state 30 minutes post-meal.
  e . g ., hypertension . Such an amount is defined to be a           In other instances , an enalapril oral liquid formulation is
  " prophylactically effective amount or dose .” In this use , the 15 administered to a subject in a fed state 1 hour post-meal. In
  precise amounts also depend on the patient' s state ofhealth , yet further embodiments , an enalapril oral liquid formula
  weight, and the like. When used in a patient, effective tion is administered to a subject with food .
  amounts for this use will depend on the risk or susceptibility      In further embodiments described herein , an enalapril oral
  of developing the particular disease , previous therapy, the liquid formulation is administered at a certain time of day for
  patient's health status and response to the enalapril formu - 20 the entire administration period . For example , an enalapril
  lations, and the judgment of the treating physician .            oral liquid formulation can be administered at a certain time
     In certain embodiments wherein the patient's condition                  in the morning, in the evening , or prior to bed . In certain
  does not improve , upon the doctor's discretion the admin - instances, an enalapril oral liquid formulation is adminis
  istration of an enalapril oral liquid formulations described      tered in themorning. In other embodiments, an enalapril oral
  herein are administered chronically, that is , for an extended 25 liquid formulation can be administered at different times of
  period of time, including throughout the duration of the                   the day for the entire administration period . For example , an
  patient' s life in order to ameliorate or otherwise control or             enalapril oral liquid formulation can be administered on 8 : 00
  limit the symptoms of the patient's disease . In other embodi  am in themorning for the first day, 12 pm noon for the next
  ments, administration of an enalapril oral liquid formulation  day or administration , 4 pm in the afternoon for the third day
  continues until complete or partial response of a disease . 30 or administration , and so on .
     In certain embodiments wherein a patient' s status does                 Further Combinations
  improve, the dose of an enalapril oral liquid formulation                     The treatment of certain diseases or conditions (e.g.,
  being administered may be temporarily reduced or tempo -                   hypertension , heart failure, myocardial infarction and the
  rarily suspended for a certain length of time (i.e., a “ drug              like ) in a subject with an enalapril oral liquid formulation
  holiday ” ) . In specific embodiments , the length of the drug 35 described herein encompass additional therapies and treat
  holiday is between 2 days and 1 year, including by way of ment regimens with other agents in some embodiments.
   example only , 2 days , 3 days, 4 days , 5 days, 6 days, 7 days ,         Such additional therapies and treatment regimens can
   10 days , 12 days , 15 days, 20 days , 28 days , 35 days , 50             include another therapy, e . g ., additional anti -hypertensives ,
  days , 70 days , 100 days, 120 days, 150 days , 180 days, 200     for treatment of the particular disease or condition in some
  days , 250 days, 280 days, 300 days, 320 days , 350 days , and 40 embodiments . Alternatively, in other embodiments, addi
   365 days . The dose reduction during a drug holiday is, by                tional therapies and treatment regimens include other agents
  way of example only , by 10 % 400 % , including by way of                  used to treat adjunct conditions associated with the disease
  example only 10 % , 15 % , 20 % , 25 % , 30 % , 35 % , 40 % , 45 % ,
                                                               or condition or a side effect from the enalapril oral liquid
  50 % , 55 % , 60 % , 65 % , 70 % , 75 % , 80 % , 85 % , 90 % , 95 % ,
                                                               formulation in the therapy .
  and 100 % .                                                45 Additional agents for use in combination with an enalapril
    In some embodiments , enalapril oral liquid formulations   oral liquid formulation described herein include , but are not
  described herein are administered chronically . For example,    limited to , diuretics (loop , thiazide , potassium -sparing, and
  in some embodiments, an enalapril oral liquid formulation is    the like ), beta blockers (metoprolol,propanolol, pronethalol,
  administered as a continuous dose, i.e ., administered daily to and the like), alpha blockers (phentolamine , phenoxyben
  a subject. In some other embodiments , enalapril oral liquid 50 zamine, tamsulosin , prazosin , and the like), mixed alpha and
   formulations described herein are administered intermit-                  beta blockers (bucindolol, carvedilol, labetalol), calcium
   tently (e . g . drug holiday that includes a period of time in            channel blockers ( dihydropyridines such as nifedipine,
  which the formulation is not administered or is administered               amlodipine , etc., dilitazem , verapamil and the like ), angio
  in a reduced amount ).                                                     tensin II receptor antagonists (saralasin , Isartan , eprosartin ,
      In some embodiments an enalapril oral liquid formulation 55 irbesartan , valsartan , and the like), other ACE inhibitors
   is administered to a subject who is in a fasted state . A fasted          (captopril, quinapril, ramipril, lisinopril, zofenopril, and the
   state refers to a subject who has gone without food or fasted             like), aldosterone antagonists ( eplerenone, spironolactone
   for a certain period of time. General fasting periods include             and the like), vasodilators (hydralazine and the like ) and
   at least 4 hours , at least 6 hours , at least 8 hours , at least 10      alpha -2 agonists ( clonidine,moxonidine , guanabenz and the
  hours, at least 12 hours, at least 14 hours and at least 16 60 like ).
  hours without food . In some embodiments , an enalapril oral
  liquid formulation is administered orally to a subject who is                        Certain Definitions
  in a fasted state for at least 8 hours . In other embodiments,
  an enalapril oral liquid formulation is administered to a           Unless defined otherwise , all technical and scientific
  subject who is in a fasted state for at least 10 hours. In yet 65 terms used herein have the samemeanings as commonly
  other embodiments , an enalapril oral liquid formulation is                understood by one of ordinary skill in the art. Although any
  administered to a subject who is in a fasted state for at least            methods and materials similar or equivalent to those
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                                                         US 9, 808,442 B2
                                 29                                                                 30
   described herein can be used in the practice or testing of              By “ pharmaceutically acceptable ” , it is meant the carrier,
  embodiments described herein , certain preferred methods,              diluent or excipient must be compatible with the other
  devices , and materials are now described .                            ingredients of the formulation and not deleterious to the
     As used herein and in the appended claims, the singular
  forms “ a ” , “ an ” , and “ the” include plural reference unless 5       The term “ pharmaceutical composition ” shall mean a
  the context clearly dictates otherwise. Thus, for example ,            composition comprising at least one active ingredient ,
   reference to " an excipient" is a reference to one or more            whereby the composition is amenable to investigation for a
  excipients and equivalents thereof known to those skilled in           specified , efficacious outcome in a mammal (for example ,
  the art, and so forth .                                                without limitation , a human ). Those of ordinary skill in the
                                                                         art will understand and appreciate the techniques appropriate
       The term “ about” is used to indicate that a value includes 10 for determining whether an active ingredient has a desired
  the standard level of error for the device or method being efficacious           outcome based upon the needs of the artisan .
  employed to determine the value . The use of the term “ or ”           A " therapeutically effective amount" or " effective
  in the claims is used to mean “ and/or” unless explicitly amount            ” as used herein refers to the amount of active
   indicated to refer to alternatives only or the alternatives are    compound or pharmaceutical agent that elicits a biological
  mutually exclusive , although the disclosure supports a defi- 15 ormedicinal response in a tissue, system , animal, individual
  nition that refers to only alternatives and to " and /or.” The or human that is being sought by a researcher, veterinarian ,
  terms " comprise ," " have ” and “ include” are open - ended medical doctor or other clinician , which includes one or
   linking verbs . Any forms or tenses of one or more of these more of the following : ( 1 ) preventing the disease ; for
  verbs , such as " comprises," " comprising," " has," "having,”      example , preventing a disease , condition or disorder in an
  “ includes " and " including,” are also open -ended . For 20 individual thatmay be predisposed to the disease , condition
  example, any method that “ comprises," " has ” or “ includes”       or disorder but does not yet experience or display the
  one or more steps is not limited to possessing only those one pathology or symptomatology of the disease , (2 ) inhibiting
  or more steps and also covers other unlisted steps .                the disease ; for example , inhibiting a disease , condition or
      " Optional” or “ optionally ” may be taken to mean that the     disorder in an individual that is experiencing or displaying
   subsequently described structure , event or circumstance may 25 the pathology or symptomatology of the disease , condition
  or may not occur, and that the description includes instances       or disorder (i.e ., arresting further development of the pathol
  where the events occurs and instances where it does not.            ogy and / or symptomatology ), and ( 3 ) ameliorating the dis
     As used herein , the term “ therapeutic ” means an agent         ease; for example , ameliorating a disease , condition or
  utilized to treat , combat , ameliorate , prevent or improve an disorder in an individual that is experiencing or displaying
                                                                  the pathology or symptomatology of the disease, condition
  unwanted condition or disease of a patient. In some embodi- 30 disorder
  ments, a therapeutic agent such as enalapril is directed to the or           ( i.e ., reversing the pathology and / or symptoma
                                                                  tology ). As such , a non - limiting example of a “ therapeuti
  treatment and /or the amelioration of, reversal of, or stabili cally effective amount" or " effective amount” of a formu
  zation of the symptoms of hypertension described herein .              lation of the present disclosure may be used to inhibit, block ,
     “ Administering" when used in conjunction with a thera -            or reverse the activation , migration , or proliferation of cells
  peutic means to administer a therapeutic systemically or 35 or to effectively treat hypertension or ameliorate the symp
  locally , as directly into or onto a target tissue, or to admin   toms of hypertension .
  ister a therapeutic to a patient whereby the therapeutic             The terms " treat,” “ treated ,” “ treatment,” or “ treating ” as
  positively impacts the tissue to which it is targeted . Thus , as used herein refers to both therapeutic treatment in some
  used herein , the term “ administering ” , when used in con       embodiments and prophylactic or preventative measures in
  junction with an enalapril formulation , can include, but is 40 other embodiments,wherein the object is to prevent or slow
  not limited to , providing an enalapril formulation into or            (lessen ) an undesired physiological condition , disorder or
  onto the target tissue; providing an enalapril formulation             disease , or to obtain beneficial or desired clinical results . For
   systemically to a patient by, e . g ., oral administration            the purposes described herein , beneficial or desired clinical
  whereby the therapeutic reaches the target tissue or cells.            results include , but are not limited to , alleviation of symp
  “ Administering” a formulation may be accomplished by 45 toms; diminishment of the extent of the condition , disorder
  injection , topical administration , and oral administration or or disease ; stabilization (i.e ., not worsening ) of the state of
  by other methods alone or in combination with other known the       condition , disorder or disease ; delay in onset or slowing
                                                                  of the progression of the condition , disorder or disease ;
  techniques.
      The term “ animal” as used herein includes, but is not amelioration        of the condition , disorder or disease state ; and
                                                                   remission (whether partial or total), whether detectable or
  limited to , humans and non -human vertebrates such as wild , 50 undetectable , or enhancement or improvement of the con
  domestic and farm animals. As used herein , the terms dition , disorder or disease . Treatment includes eliciting a
  " patient,” “ subject” and “ individual” are intended to include clinically significant response without excessive levels of
  living organisms in which certain conditions as described        side effects. Treatment also includes prolonging survival as
  herein can occur. Examples include humans, monkeys , compared to expected survival if not receiving treatment. A
  cows, sheep , goats, dogs , cats , mice , rats , and transgenic 55 prophylactic benefit of treatment includes prevention of a
  species thereof. In a preferred embodiment, the patient is a           condition , retarding the progress of a condition , stabilization
  primate . In certain embodiments , the primate or subject is a         of a condition , or decreasing the likelihood of occurrence of
  human . In certain instances, the human is an adult. In certain        a condition. As used herein , “ treat,” “ treated ,” “ treatment,”
   instances , the human is child . In further instances, the human      or treating” includes prophylaxis in some embodiments .
   is 12 years of age or younger . In certain instances , the human 60
   is elderly . In other instances, the human is 60 years of age                                    Examples
   or older . Other examples of subjects include experimental
  animals such as mice , rats, dogs , cats , goats , sheep , pigs, and          Example A : Effect of pH on the Formation of
  cows. The experimental animal can be an animal model for                     Degradants in Enalapril Formulations at 60° C .
  a disorder, e .g ., a transgenic mouse with hypertensive 65
  pathology. A patient can be a human suffering from hyper                 Formulations were prepared containing enalapril maleate
   tension , or its variants or etiological forms.                       according to Table A - 1 . The pH of each solution was
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                                                                                                US 9,808 ,442 B2
                                               31                                                                                                                     32
  recorded . Five milliliters of each formulation were trans                                                                                                    TABLE B - 1
  ferred to each of four 3- dram glass screw -capped vials with
  Teflon inserts in the caps. The vials were placed into a 60°                                                                           Formulation (in mg/mL ) of Enalapril Maleate
                                                                                                                                    Formulations at Varying Citrate Buffer Concentrations
  C . heating chamber then one vial removed and analyzed by  by 5
  HPLC at times of zero , - 97 and ~ 180 hours .                                                                                                                                        Formulation

                                         TABLE A - 1                                                                                                                 B1 (5 mM B2 (10 mM B3 (20 mm
                                                                                                                       Component                                       citrate )         citrate)         citrate)
                  Formulation (in mg/mL ) of Enalapril Formulations
                   at Varying pH and Citrate Buffer Concentration                                                      Enalapril maleate                                1. 0              1 .0                 1.0
                                                                                                                       Citric acid , anhydrous                          0 .82             1 .65                3 .29
                                                  Formulation (mM citrate )                                            Sodium citrate , anhydrous                       0 . 19            0 . 38           0 .75
                                                                                                                       Sodium benzoate                                  1. 0              1.0               1 .0
                                     A1          A2            A3              A4               A5       A6            Sucralose                                        0 .7              0. 7             0 .7
  Component                         (50 )        (50 )        (50 )            (50)         (50 ) (25 )  Mixed berry flavor (powdered )                                 0 .5              0. 5             0 .5
  Enalaprilmaleate                   1.0          1. 0         1 .0             1.0          1.0 1. 0 15 Water                                                           qs                qs                    qs
  Mannitol                          50          50            50                           50          6.0             pH                                                                                      3. 3
  Xylitol                                                                    50
  Citric acid ,                      7.35 5.05 2.55 5.05 5.05 2. 76                                                    qs = sufficient quantity
  anhydrous
  Sodium citrate ,
  dihydrate                          3.45 7.0 10 .8                            7.0          7.0 3. 15 20                    The results of the HPLC analysis for the two main
  Sodium benzoate                    1           1
                                               - -             1               1
                                                                                                                       degradants in the samples , enalapril diketopiperazine and
  Methylparaben sodium                                                                          1 . 75 0 . 335         enalaprilat, are provided in Table B -2 .
  Propylparaben sodium                                                                                 0 .095
  Potassium sorbate                                                                                                                                             TABLE B - 2
  Sucralose                          0 .75       0.75         0 .75            0.75             0.75 0.75 25
  Silicon dioxide                                                                                      0 .075                                      Primary Degradants Present in the
  Mixed berry flavor                 0 .5        0 .5          0 .5            0 .5         0 .5 0 . 5                                    Formulations ( % w /w of enalapril maleate )
  (powdered )
  Water                              qs           qs           qs              qs               qs       qs                 Hours                                       Formulation
  pH                                 3 .4        4 .4          5 .2            4 .4             4.5 4 .4
                                                                                                                - 20
                                                                                                                  30    at 60° C . B1 (5 mM citrate ) B2 ( 10 mM citrate ) B3 (20 mM citrate )
  qs = sufficient quantity
                                                                                                                                                           Enalapril Diketopiperazine
     The results of the HPLC analysis for the two main
  degradants in the samples, enalapril diketopiperazine and                                                                  So
                                                                                                                             139
                                                                                                                                                  0.01
                                                                                                                                                  1 .57
                                                                                                                                                  3 .70
                                                                                                                                                                           0 .01
                                                                                                                                                                            1.63
                                                                                                                                                                            3.94
                                                                                                                                                                                                      0 .01
                                                                                                                                                                                                      1 . 79
                                                                                                                                                                                                      4 .24
  enalaprilat, are provided in Table A - 2.                                                                       35                                              Enalaprilat

                                         TABLE A -2                                                                                               0 .00                    0 . 00                     0 .00
                                                                                                                             66                   2 .98                        2. 88                  3 . 19
                   Primary Degradants Present in the Formulations                                                           139                   5 . 28                       5 . 23                 5 .69
                                % w / w of enalapril maleate )
                                                                                                                  40
     Hours at                                        Formulation

       60°C.            A1          A2               A3               A4               A5              A6                        Example C : Stability of Enalapril Maleate
                                Enalapril Diketopiperazine                                                                     Formulations Containing Paraben Preservatives
                                                                                                                  45
          97
            0          0 .04
                       3 . 10
                                   0 .03
                                   0 .88
                                                     0 .03
                                                     0 . 33
                                                                      0 .03
                                                                      0 . 86
                                                                                       0 .03
                                                                                       0 .70
                                                                                                       0 .03
                                                                                                       0 .53
                                                                                                                          Powder formulations were prepared according to Table
        180            6 .21       1 .77             0 .75            1 . 73           1 .43           1 . 07          C - 1. All components in each formulation except mannitol or
                                            Enalaprilat                                                                xylitol were added to a 2 .5 liter polypropylene screw capped
                                                                                       0 . 16
                                                                                                                       bottle . The bottle was mixed by inversion in a Turbula®
                       0 .09       0 . 15          0 . 29             0 . 14                           0 . 12
          97           5 .20      16. 9           47 . 4            16 . 1            20 . 3         15 . 6       50 mixer for 5 minutes . The mannitol or xylitol was then added
        180            9 .94      34 . 8         113                33 . 5            42 . 2         31. 7             and the components mixed for 5 minutes, then the other half
                                                                                                                       of the mannitol or xylitol was added and a final mix of 5
                                                                                                                       minutes was completed .
       Example B : Effect of Buffer Concentration on the                                                          55 One  liter of solution formulation was prepared for each
                                                                                                                     formulation by adding an appropriate amount of each pow
       Formation of Degradants in Enalapril Formulations                                                               dered formulation to a 1 liter volumetric flask and adding
                           at 60° C .                                                                                  about 500 mL water. The powder was dissolved with mixing
                                                                                                                       then the contents of the flask were brought to 1 liter with
     Formulations were prepared containing enalapril maleate                                                           additional water. The amount of powder to add was deter
   according to Table B - 1. The pH of each solution was                                                               mined such that the final concentration of enalaprilmaleate
  measured and adjusted as needed to pH 3.3 with ~ 1N HC1 was 1.0 mg/mL . Fifty milliliter aliquots of each formulation
  or - 0 .5N NaOH . Five milliliters of each formulation were were placed into HDPE bottles . The bottles were screw
  transferred to each of six 3 -dram glass screw -capped vials capped and placed into storage at 5° C .- 3° C ., at room
  with Teflon inserts in the caps. The vials were placed into a 65 temperature ( 19 -23° C .) and at 40° C . - 2° C . At various
  60° C . heating chamber then two vials were removed and times, bottles were removed from the storage condition and
  analyzed by HPLC at times of zero, ~ 66 and ~ 139 hours . analyzed .
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                                                                                                         US 9, 808 ,442 B2
                                                    33                                                                                                                                34
                                          TABLE C - 1                                                                                             Example D : Stability of Enalapril Maleate
                           osition of Enalapril Maleate Formulations
                                                                                                                                                Formulations Containing Benzoate Preservative
   Component                              c1                 C2                  C3                C4               C5           5 D -Powder   formulations were prepared according to Table
                                                                                                                                      1 . All components in each formulation except enalapril
                              Powder Formulation ( grams)                                                                          maleate and mannitol or xylitol were blended with a mortar
  Enalapril maleate                     12 . 3         12 . 3                88 ..86
                                                                                  86               22 ..1616        22..16
                                                                                                                        16            and pestle. The enalapril maleate was then triturated with the
  Mannitol                              74 . 4         74 . 4              394 . 0                                                    blend. The xylitol or mannitol was then triturated into the
  Xylitol                                                                                        96 .6            93.7           10 blend using a geometric dilution technique .
  Citric acid , anhydrous               28 .6           35. 6                   28 .4              5 .40            5 .40
  Sodium citrate ,                      24 . 5         14 . 7                    7 . 73            4 . 10           4 . 10            One liter of solution formulation was prepared for each
  anhydrous                                                                                                                           formulation by adding an appropriate amount of each pow
  Sodium methylparaben
  Sodium propylparaben
                                         4 . 17
                                          1 . 10
                                                         4 .17
                                                          1. 10
                                                                                 8 . 86            2.16
                                                                                                   2 . 16           22 .. 1616        dered formulation to a 1 liter volumetric flask and adding
                                                                                                                                      about 500 mL water. The powder was dissolved with mixing
  Potassium sorbate                     12.3            12.3                                                                     15 then the contents of the flask were brought to 1 liter with
  Sodium benzoate                                                                8 . 86            2 . 16           2 . 16
                                                                                                                                      additional water. The amount of powder to add was deter
  Xanthan Gum                                                                                                       1 .62
  Colloidal silicon dioxide              0 .859          0 .859                  4 .43                              1.08              mined such that the final concentration of enalapril maleate
  Sucralose                               9 . 20         9 . 20                  6 .64             1 .62            1 .62             was 1 .0 mg/mL . Fifty milliliter aliquots of each formulation
  Mixed berry flavor                     6 .13           6 . 13                  4 .43             1 .08            1 .08 -      20   were placed into HDPE bottles. The bottles were screw
                                                                                                                                      capped and placed into storage at 5° C .13° C ., at room
   Total solids                    173 .5             170.7               472.3                  115 .2          115.2                temperature (19 - 23° C .) and at 40° C . + 2° C . At various
                              Liquid Formulations (mg/mL )                                                                            times, bottles were removed from the storage condition and
  Enalapril maleate                       1 .00              1 .00               1 .00             1 .00            1 .00             analyzed .
  Mannitol                               6 .07           6 . 07                 44.5                                             25
  Xylitol                                                                                        44 . 7           43 . 4                                                    TABLE D - 1
  Citric acid , anhydrous                2 . 33          2 . 90                  3 .21            2 .50            2 .50
                                                                                                                                                       Composition of Enalapril Maleate Formulations
  Sodium citrate ,                       2 .00           1 . 20                  0 .87             1 .90           1 .90
  anhydrous
  Sodium methylparaben                   0 .34           0 . 34                  1 .00             1 . 00           1 .00
                                                                                                                                      Component               D1            D2             D3         D4         D5         D6
  Sodium propylparaben                   0 .09           0 .09                   1 .00                                           30                               Powder Formulation (grams)
                                                                                                                                                                  Powder Formulation
  Potassium sorbate                       1 .00              1 . 00
  Sodium benzoate                                                                1.00              1.00             1 .00             Enalapril               3.63 3.63 3.63 3.63 8.86 2.16
  Xanthan Gum                                                                                                      0 .75              maleate
  Colloidal silicon dioxide              0 .07           0 .07                   0 .50                              0 .50             Xylitol              537 . 2        176 . 1                   537 . 2
  Sucralose                              0 .75           0 .75                   0 .75              0 .75           0 .75             Mannitol                                         319 . 4                 401. 2      98 . 9
                                                                                                                                  5 Citric acid ,           11. 9          11 . 9       11. 9         10 . 4    26 .6       6 .48
  Mixed berry flavor                     0 .50           0 .50                   0 .50             0 .50            0 . 50            anhydrous
  pH (measured )                         44 ..44         33 .. 88                33..77            44 ..44          44 ..66           Sodium citrate ,        2.72           2 . 72        2 . 72      4 .86    11. 3        2 . 76
                                                                                                                                      anhydrous
                                                                                                                                      Sodium                  3 .63          3 .63         3 .63       3 .63      8 . 86     2 . 16
      The results of the HPLC analysis for the diketopiperazine 40                                                                    benzoate
                                                                                                                                      Rebalance X60                         10.9
                                                                                                                                                                           10 . 9
  and enalaprilat degradants in the samples are provided in                                                                           (sucralose
   Table C - 2 .                                                                                                                      and
                                                                                                                                      maltodextrin )
                                          TABLE C -2                                                                                  Sucralose
                                                                                                                                      Saccharin                                            7.26
                                                                                                                                                                                           7 . 26                6.64 1.62
                                                                                                                                                                                                                  6 .64      1 .62

         Degradant Content After Storage ( % w /w of enalapril maleate )                                                              sodium
                                                                                                                                      Colloidal                                                                   4 .43
                                                                                                                                      silicon
                     Storage
                   - Storage                                                    Formulation
                                                                               Formulation
                                                                                                                                      dioxide
                   °C. Weeks C1                                       C2               C3               C4            C5              Mixed berry
                                                                                                                                       flavor
                                                                                                                                                              1. 82 1.82 1. 82 1.82 4.43 1.08
                                  Liquid Formulations                                                                            50   Total solids         561            211          350.         561        472.3       115.2
  Diketo                                  0 .03 0 .04                                  0 .04           0 .02         0 .02                                       Liquid Formulations (mg/mL)
  piperazine                                        0 .02             0 .03            0 .03           0 .03         0 .02            Enalapril               1.00           1.00          1.00         1.00      1.00       1.00




                                 ot c
                                                    0 .03             0 .04            0 .04
                   19 -23                           0 .03             0 .04            0 .04           0 .02         0 .02            maleate
                                                    0 .05
                                                    0 .08
                                                                      00 ..09
                                                                           09
                                                                      0 . 17
                                                                                       00 ..11
                                                                                            11
                                                                                       0 . 19
                                                                                                       00 ..05
                                                                                                            03
                                                                                                                                      Xylitol
                                                                                                                     0V .04 55 Mannitol                     148.0 4848.. 55
                                                                                                                                                           148. 0
                                                                                                                                                                                        88. 0
                                                                                                                                                                                                    148.0
                                                                                                                                                                                                    148 . 0
                                                                                                                                                                                                                45 . 3     45 . 8
                    40                              0 .03             0 .04            0 .04           0 .02         0 .02     Citric acid ,
                                                                                                                                      anhydrous
                                                                                                                                                              3.29 3.29 3.29 2.85                                 3.00       3.00
                                                    0 . 35            0 .91             1 . 10        0 . 31         0 . 21
                                                    0 .65              1. 80            2 .05                                         Sodium citrate ,        0 .75          0 .75                                1 . 28     1.28
  Enalaprilat          5                                                                                                              anhydrous
         cilat                                      0 . 18
                                                    0 . 18
                                                    0 . 55
                                                                      0 . 14
                                                                      0 . 15
                                                                      0 . 38
                                                                                       0 .12
                                                                                       0 . 12
                                                                                       0 . 34
                                                                                                      0 . 13
                                                                                                      0 .43
                                                                                                                     0 . 19
                                                                                                                     0 . 53           Sodium
                                                                                                                                  ) benzoate
                                                                                                                                                              11 ..0000      1.00
                                                                                                                                                                             1 .00                               1.00 1.00
                                                                                                                                                                                                                  1 .00      1 .00

                   19 - 23                          0 .18             0 . 14           0 . 12         0 . 13         0 .19            Rebalance X 60                         3 . 00
                                                    1 .35             0 .83            0 . 80         1. 75          2 .29            ( sucralose
                                                    3 .34             2 .06            1 . 98                                         and
                      40                            0 . 18           0 . 14            0 . 12        0 . 13         0 . 19            maltodextrin )
                                                   10 .49            6 .08             6 . 11       12 .30         16 . 14            Sucralose                                                                   0 .75      0 .75
                                                   24 . 37          14 . 12         14 .22                                            Saccharin                                            2 .00
                                                                                                                                      sodium
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                                                                                                             US 9, 808 ,442 B2
                                           35                                                                                                                                                36
                                   TABLE D - 1 -continued                                                                                                                               -continued
                   Composition of Enalapril Maleate Formulations                                                                                          Composition of Enalapril Maleate Formulations (mg/mL)
   Component                 D1                D2               D3                 D4                 D5                  D6            - 5
                                                                                                                                               Component                           E1              E2             E3            E4          E5       E6
  Colloidal                                                                                         0 .50
                                                                                                    0 . 50                                     Citric acid anhydrous           3 .29           3 . 29            3 . 29         3 . 29     1 .65    0 .82
  silicon                                                                                                                                      Sodium citrate                  0 .75           0 .75             0 .75          0 .75      0 .38 0 . 19
   dioxide                                                                                                                                     anhydrous
  Mixed
  Mixed berry
           berry            00.. 5050          00 ..5050 00..5050                 0.50
                                                                                  0 . 50            00.. 5050            00..5050            Sodium benzoate                   1.00            1.00              1.00           1.00       1.00 1.00
   flavor                                                                                                                                      Sucralose                                                         0 . 70                    0 .70    0 . 70
  pH (measured )             3.2               3.2              3.4               3. 7               3.6                 3.6              10 Mixed berry flavor                0 .50                             0 . 50         0 .50      0 .50    0 . 50
                                                                                                                                               Water                             qs                qs              qs            qs          qS       qs
                                                                                                                                               pH (measured )                  3 .3            3. 3              3. 3           3 .4       3. 3     3 .3
      The results of the HPLC analysis for the diketopiperazine
   and enalaprilat degradants in the samples are provided in                                                                                   qs = sufficient quantity
   Table D - 2 .                                                                                                                          15       The results of the HPLC analysis for the diketopiperazine
                                               TABLE D - 2                                                                                     and enalaprilat degradants in the samples are provided in
                                                                                                                                               Table E - 2
            Degradant Content After Storage ( % w / w of enalapril maleate )
                            Storage                                          Formulation                                            -     20
                                                                                                                                                                                    TABLE E -2
                                                                                                                                                       Degradant Content After Storage ( % w /w of enalapril maleate )
                     °C. Weeks D1                                   D2         D3            D4                 D5           D6
                                          Liquid Formulations                                                                                                      Storage                     Formulation

  Diketo-               5                0 0.04 0.02 0 .03 0.03 0.04 0.04 25                                                                                      °C. Weeks E1 E2                                       E3        E4        E5       E6
  piperazine                                    0 .07 0 . 03 0 .05 0 .05 0 .03 Diketo                                                                                                     0 .01 0 .01 0 .01 0 .01 0 .01 0 .01
                                                0 .11 0 .06 0.08 0 .08 0 .05                                                                   piperazine                                 0 .04 0 .04 0 .05 0 .04 0 .03 0 .03
                                                      0 .08         0 .04 0 . 06 0 .06                                                                                                    0 .04 0 .04 0 .04 0 .04 0 .03 0 .03
                                                      0 . 11        0 .07 0 .09 0 .07                                                                                                     0 .05 0 .05 0 .04 0 .05 0 .04 0 .04
                     19 - 23

                                        Sot           0 .04 0 .02 0 .03 0 .03 0 .04 0 .04
                                                      0 .27 0 .21 0 .24 0 . 16 0 . 12 0 . 12
                                                                                                                                                                            LaON
                                                                                                                                                                                          0 .07 0 .06 0 .05 0 .06 0 .05 0 .05
                                                                                                                                                                                                                                           0 . 15   0 . 14


                        .                             0 .50 0 .41 0.47 0 .30 0 .21 0 . 22 30
                                                      0 .62
                                                      1. 39 1 . 20
                                                      0 .04 0 .02
                                                      2 .87 2 .32
                                                                    0 .52      0 .58
                                                                               1.33
                                                                               0 .03
                                                                               2. 73
                                                                                             0 . 35
                                                                                             0 . 76
                                                                                             0 .03
                                                                                             1.57
                                                                                                                0 .04 0 .04
                                                                                                                1 .21 1 .13
                                                                                                                                                                 19 - 23
                                                                                                                                                                                          0 .18 0 . 18 0 . 16 0 . 14
                                                                                                                                                                                         0 .01 0 .01 0 .01 0 .01 0 .01 0 .01
                                                                                                                                                                                         0 .22 0 .23 0 .21 0 .20 0 . 16 0 .15
                                                                                                                                                                                         0 . 35 0 .35 0 .32 0 .31 0 .29 0 .28
                                                                                                                                                                                          0 .58 0 .59 0 .53 0 .51 0 .48 0 .45

  Enalaprilat           5
                                                      5 . 13 4 .42 5 .44 2 .97 2 . 23 2 . 16
                                                      6 . 86
                                                     13.63
                                                      0 .03
                                                      0 . 15
                                                                 5 . 90
                                                                12.18
                                                                 0 .02
                                                                 0 .12
                                                                               6 . 90
                                                                              13 . 56
                                                                               0 .03
                                                                               0 .06
                                                      0 .22 0 . 19 0 .22 0 . 27 0 . 34
                                                                                             3.91
                                                                                             7.74
                                                                                             0 .03 0 . 13
                                                                                             0 . 17 0 . 13
                                                                                                                            0 .14
                                                                                                                                          35
                                                                                                                                                                   $       SAOBSA         1. 10
                                                                                                                                                                                          3 .02
                                                                                                                                                                                                        1 . 10
                                                                                                                                                                                                        3 . 04
                                                                                                                                                                                                                        1.00 0 .95 0 .97 0 .92
                                                                                                                                                                                                                        2 .75
                                                                                                                                                                                         0 .01 0 .01 0 .01 0 .01 0 .01 0 .01
                                                                                                                                                                                          2 .65 2.71 2.60 2 .42 1.76 1.68
                                                                                                                                                                                          4 .02 3.99 3.99 3.62 3. 37 3 .13
                                                                                                                                                                                                                                   2. 30 2 . 15
                                                                                                                                                                                                                                  2 . 64


                                                      0 . 20 0 . 17 0 . 19 0 .22                                                                                                         6 .72 6 .42 6 .47 6 .00 5 .53 5 .29
                     19 - 23
                                                      0 . 32        0 . 30     0 . 30
                                                      0 .03 0 .02 0 .03 0 .03 0 . 13 0 .14
                                                                                             0 . 39
                                                                                        1 40 Enalaprilat                                                           a 5       ON          0 . 00         0 . 00
                                                                                                                                                                                         0 .07 0 .09 0 . 10
                                                                                                                                                                                                                        0 .01 0 .02 0 . 00
                                                                                                                                                                                                                                  0 . 11 0 .07 0 .08
                                                                                                                                                                                                                                                    0 .00
                                                      0 .69         0 .66      0 .69         0 . 86             0 . 74      0 . 76                                                        0 . 12        0 . 14       0 . 10       0 . 13 0 .09      0 .08
                                                      1 . 38        1 . 33        1 .41          1 .68          1 . 83       1 . 82                                            2          0 . 16        0 .15        0 . 15       0 . 17 0 . 14     0 . 11
                                                       1. 71        1.68       1 .73         2 . 15                                                                        N
                                                                                                                                                                                         0 . 31 0 . 30 0 . 29 0 . 31 0 . 27 0 . 24
                                                      3.63          3 .61      3 .59         4 .55                                                                                                                                         0 .54    0 .46
                      40                              0 .03         0 .02      0 .03         0 .03 0 . 13 0 . 14                                                                         0 .75          0 .75 0 .74 0 .71
                                                      4 .76         4 .42      4 .76         6 .45 5 .55 5 . 24 45                                               19 - 23                 0 . 00 0 .00 0 .01 0 .02 0 . 00 0 .00
                                                      8 . 95        8 .64      9.61         12. 94 12 .73 12 .18
                                        NO           11 .01 10 .64 11.41 16 . 16
                                                     17 . 18 17 . 11 18. 30 27 . 36
                                                                                                                                                                                          0 .65
                                                                                                                                                                                          1 . 17
                                                                                                                                                                                                        0 .65
                                                                                                                                                                                                        1 . 19
                                                                                                                                                                                                                     0 .68
                                                                                                                                                                                                                     1 . 20
                                                                                                                                                                                          1.67 1.69 1.72 1 .80 1. 30 1.21
                                                                                                                                                                                                                                  0 .70 0 . 50
                                                                                                                                                                                                                                  1 .23 1 .03
                                                                                                                                                                                                                                                    0 .46
                                                                                                                                                                                                                                                    0 .95

                                                                                                                                                                                          3 . 36        3 . 38 3 .42 3 .57 3 .07 2 . 90
                                                                                                                                                                                                                                           6 . 32   5 . 88

            Example E : Stability of Solution Formulations of
                                                                                                                                         50                                88             7 . 99 8.02 8.04 8. 57
                                                                                                                                                                                          0 .00 0 .00 0 .01 0 .02 0 . 00 0 . 00
                            Enalapril Maleate                                                                                                                                  8
                                                                                                                                                                                          4 .85 4 .93 5 . 19
                                                                                                                                                                                          8.08 8 .06 8 .56
                                                                                                                                                                                                                                  5 .42 3. 33 3 . 25
                                                                                                                                                                                                                                  9 .01 6 .65 6 . 35
                                                                                                                                                                            12           10 .70 10 .48 11 .01 11 .97 8 . 14 7 . 96
     Solution formulations were prepared according to Table
  E - 1. Thirty milliliter aliquots of each formulation were 55
  placed into HDPE bottles. The bottles were screw -capped                                                                                            Example F : Effect of pH on the Formation of
  and placed into storage at 5° C . + 3° C ., at room temperature                                                                                   Degradants in Enalapril Formulations at 5° C . and
  ( 19 - 23° C .) and at 40° C . + 2° C . At various times, bottles                                                                                                                     19 -23° C .
  were removed from the storage condition and analyzed .
                                                                                                                                         60
                                                                                                                                                 The content of enalapril diketopiperazine and enalaprilat
              Composition of Enalapril Maleate Formulations (mg/mL)                                                                            that were formed after 8 weeks of storage for formulations
   Component                                                                                                                                   C1- C3 and D1-D5 are plotted in FIG . 1 (5º C .13° C .) and
                                             E1                E2            E3             E4                  E5 E6                          FIG . 2 ( 19 - 23° C . storage ). These formulations all contained
  Enalapril maleate                           1.00             1.00 1.00                     1.00 1.00 1.00 65 20 mM total citrate buffer content, but with varying pH . The
  Xylitol                               150              200                               150                                                 general effects of formulation pH on the formation of the
                                                                                                                                               two main enalapril degradants are shown .
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                                             37                                                                                 38
        Example G : Antimicrobial Effectiveness Testing of                                        compartmental methods . Blood was also drawn and urine
               Enalapril Maleate Formulations at pH 3 .3                                          collected for clinical laboratory testing at screening and at
                                                                   the end of the study .
     Enalapril formulations were prepared containing differing        Statistical Methods: The concentration -time data were
  amounts of the antimicrobial preservative , sodium benzoate . 5 analyzed using noncompartmental methods in PhoenixTM
   The formulations were then tested for antimicrobial effec WinNonlin®            ( Version 6 .3 , Pharsight Corporation ). Concen
  tiveness (AET) according to the procedures in the 2014 tration           -time data that were below the limit of quantitation
                                                                   (BLQ ) were treated as zero in the data summarization and
  United States Pharmacopeia 37 , Chapter <51> for category descriptive         statistics . In the pharmacokinetic analysis , BLO
  3 products. The formulation of the formulations and the AET 10 concentrations      were treated as zero from time-zero up to the
  results are included in Table G - 1 .                            time at which the first quantifiable concentration was
                            TABLE G - 1                            observed ; embedded and/or terminal BLQ concentrations
                                                                   were treated as “ missing " . Actual sample times were used
                 Formulation and AET Testing Results               for all pharmacokinetic and statistical analyses . Analysis of
                                                                15 variance (ANOVA ) and the Schuirmann 's two one -sided
                                                            Formulation                           t- test procedures at the 5 % significance level were applied to
                                    G1             G2           G3           G4      G5           the log- transformed pharmacokinetic exposure parameters,
                                Formulation (mg/mL)
                                                                                                  Cmax, AUCiast, and AUCing. The 90 % confidence interval for
                                                                                                  the ratio of the geometric means ( Test/Reference ) was
  Enalapril maleate                   1.00     1.00              1.00        1.00 1.00         20 calculated . Bioequivalence was declared if the lower and
  Xylitol                          150            150          150         150                    upper confidence intervals (CIS ) of the log-transformed
  Sucralose                                                                         0 .70         parameters were within 80 % to 125 % for enalapril and
  Citric acid , anhydrous            1 .64          1.64         1.64        1.64 1.80            enalaprilat.
  Sodium citrate , anhydrous         0 .322         0 . 322      0 . 322     0 .322                 Results : A total of32 subjects participated in the study and
  Sodium citrate , dihydrate                                                        0 . 165
  Sodium benzoate                    1 .00          0 .80        0 .60       00.40
                                                                                40 11..00      25 29 of these subjects completed both study periods. Based on
  Mixed berry flavor                 0 .50          0 .50        0 .50       0 .50 0 .50          the geometric mean ratios of enalapril and enalaprilat AUCs
  Water
  HCI/NaOH
                                     q .s.          q.s.      q .s.    q.s.
                                                   as need to achieve pH
                                                                                      q .s .      (AUCjast and AUCint), the bioavailability of the enalapril
  Measured pH                        3 .3           3.3          3.3         3.3 3.3              maleate oral solution ( formulation E -5 ) relative to the
                                    AET Results                                                   Epaned Powder for Oral Solution (reconstituted ) was
                                                                                               30 approximately 105 % to 110 % . The geometric mean ratios of
  USP < 51 >                        Pass           Pass         Pass        Pass     Pass         enalapril and enalaprilat Cmor were approximately 115 % and
  qs = sufficient quantity                                                                        109 % , respectively . The 90 % CI for comparing the maxi
                                                                                                  mum exposure to enalapril and enalaprilat, based on in
                                                                                                  (Cmar), was within the accepted 80 % to 125 % limits . The
       Example H : Clinical Trial: Bioavailability Study of                                    35 90 % CIs for comparing total systemic exposure to enalapril
        10 mg Enalapril Maleate Oral Solution Vs. 10 mg                                           and enalaprilat, based on In (AUCiast) and In (AUCint), was
        Epaned® Powder for Oral Solution (Reconstituted )                                         within the accepted 80 % to 125 % limits. Therefore , the test
                             Under Fasted Conditions                                              formulation of enalapril maleate oral solution , 1 mg/mL , is
                                                                                                  bioequivalent to the reference product, Epaned Powder for
      The objective of this open -label, randomized , two -period , 40 Oral Solution (reconstituted ), 1 mg/mL , under fasted con
  two - treatment, two-way crossover study was to compare the
  oral bioavailability of a test formulation of 10 mL of                                             While preferred embodiments of the present invention
  enalapril maleate oral solution , 1 mg/mL (formulation E -5 ), have been shown and described herein , it will be obvious to
                                                                 those skilled in the art that such embodiments are provided
  to an equivalent oral dose of the commercially available 45 by    way of example only. Numerous variations, changes, and
  comparator product, Epaned® (enalapril maleate) Powder substitutions         will now occur to those skilled in the art
  for Oral Solution , 1 mg/mL , when administered under fasted   without departing from the invention . It should be under
  conditions in healthy adults .
     Study design : Thirty - two healthy adult subjects received stood that various alternatives to the embodiments of the
                                                                 invention described herein may be employed in practicing
   a single 10 mL dose of enalapril maleate oral solution , 1 50 the invention . It is intended that the following claims define
  mg/mL, formulation E -5 ( Treatment A ), in one period and a                                    the scope of the invention and that methods and structures
  separate single dose of Epaned Powder for Oral Solution                                         within the scope of these claims and their equivalents be
  (reconstituted with the supplied Ora - Sweet SF ), 1 mg/mL co
  ( Treatment B ) in another period . Each treatment was admin      What is claimed is:
  istered after an overnight fast of at least 10 hours, followed 55 1 . A method of treating hypertension in a subject com
  by a 4 -hour fast postdose. Each treatment was administered                                     prising administering to that subject a therapeutically effec
  via a 10 mL oral dosing syringe and followed with 240 mL                                        tive amount of a stable oral liquid formulation comprising :
  of room temperature tap water. Each drug administration                                            (i) about 1 mg/ml enalapril maleate ;
  was separated by a washout period of at least 7 days .                                             ( ii ) a buffer comprising about 1. 82 mg/ml citric acid and
     During each study period , meals were the same and 60                                             about 0 . 15 mg/ml sodium citrate dihydrate ;
  scheduled at approximately the same times relative to dose .                                       (iii) about 1 mg/ml of a preservative that is sodium
  In addition , during each period , blood samples were                                                 benzoate ; and
  obtained prior to and following each dose at selected times                                        (iv ) water;
  through 72 hours postdose . Pharmacokinetic samples were                                           wherein the pH of the stable oral liquid formulation is less
  analyzed for enalapril and its metabolite enalaprilat using a 65                                      than about 3 .5 ;
  validated analytical method ; appropriate pharmacokinetic                                          wherein the stable oral liquid formulation is stable at
  parameters were calculated for each formulation using non                                             about 5 + 3° C . for at least 12 months ; and
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                                39                                                                      40
     wherein the stable oral liquid formulation has about 95 %          wherein the stable oral liquid formulation has about 95 %
        or greater of the initial enalapril amount and about 5 %           or greater of the initial enalapril amount and about 5 %
         w /w or less total impurities or related substances at the        w /w or less total impurities or related substances at the
         end of the given storage period .                                 end of the given storage period .
     2 . The method of claim 1 , wherein the stable oral liquida 55      17 . The method of claim 16 , wherein the stable oral liquid
                                                                      formulation further comprises about 0.70 mg/ml of a sweet
  formulation further comprises a flavoring agent.                    ener that is sucralose .
     3 . The method of claim 1 , wherein the stable oral liquid          18 . The method of claim 16 , wherein the pH is between
  formulation further comprises about 0 .70 mg/ml of a sweet          about 3 and about 3 . 5
   ener that is sucralose .                                              19 . The method of claim 16 , wherein the pH is between
    4 . The method of claim 1 , wherein the pH is between 10 about 3 . 3 .
  about 3 and about 3 .5 .                                     20 . The method of claim 16 , wherein the citrate concen
     5 . The method of claim 1, wherein the pH is about 3. 3 .        tration in the buffer is about 5 mM to about 20 mM .
     6 . The method of claim 1 , wherein the citrate concentra           21. The method of claim 16 , wherein the stable oral liquid
  tion in the buffer is about 5 mM to about 20 mM .                   formulation is stable at about 5 + 3° C . for at least 24 months.
     7 . The method of claim 1 , wherein the citrate concentra 15 22 . The method of claim 16 , wherein the stable oral liquid
  tion in the buffer is about 10 mM .                            formulation does not contain mannitol or silicon dioxide .
     8 . The method of claim 1 , wherein the stable oral liquid         23 . The method of claim 16 , wherein the heart failure is
  formulation is stable at about 5 - 3° C . for at least 18 months.  congestive   heart failure.
                                                                        24 . A method of treating left ventricular dysfunction in a
     9 . The method of claim 1 , wherein the stable oral liquid 2030 subject   comprising administering to that subject a therapeu
  formulation is stable at about 5 + 3° C . for at least 24 months . tically effective
     10 . The method of claim 1 , wherein the stable oral liquid                       amount of a stable oral liquid formulation
   formulation does not contain mannitol or silicon dioxide .        comprising:
      11 . The method of claim 1 , wherein the hypertension is          ( i ) about 1 mg/ml enalapril maleate ;
   primary ( essential) hypertension .                                   ( ii ) a buffer comprising about 1.82 mg/ml citric acid and
      12 . The method of claim 1, wherein the hypertension is 25              about 0 . 15 mg/ml sodium citrate dihydrate; and
                                                                        ( iii ) about 1 mg/ml of a preservative that is sodium
   secondary hypertension.
     13. The method of claim 1, wherein the subjecthas blood               benzoate ; and
  pressure values greater than or equal to 140 / 90 mmm Hg .            ( iv ) water;
     14 . The method of claim 1 , wherein the subject is elderly 30     wherein the pH of the stable oral liquid formulation is less
   or a child .                                                            than about 3 .5;
      15 . The method of claim 1 , wherein the stable oral liquid       wherein the stable oral liquid formulation is stable at
   formulation is further administered in combination with an             about 5 + 3° C . for at least 12 months; and
  agent selected from the group consisting of diuretics, beta           wherein the stable oral liquid formulation has about 95 %
  blockers , alpha blockers , mixed alpha and beta blockers , 35           or greater of the initial enalapril amount and about 5 %
   calcium channel blockers, angiotensin II receptor antago                w /w or less total impurities or related substances at the
  nists , ACE inhibitors, aldosterone antagonists , and alpha -2           end of the given storage period .
  agonists .                                                          25 . The method of claim 24 ,wherein the stable oral liquid
     16 . A method of treating heart failure in a subject com         formulation further comprises about 0 . 70 mg/ml of a sweet
  prising administering to that subject a therapeutically erec - 40 ener
                                                                      26 .
                                                                          that is sucralose .
                                                                            The method of claim 24 wherein the pH is between
  tive amount of a stable oral liquid formulation comprising:         about 3 and about 3 . 5 .
     (i) about 1 mg/ml enalapril maleate ;                          27. The method of claim 24 , wherein the pH is between
     (ii) a buffer comprising about 1.82 mg/ml citric acid and about     3.3.
          about 0 .15 mg/ml sodium citrate dihydrate ; and          28 . The method of claim 24 , wherein the citrate concen
     ( iii) about 1 mg/ml of a preservative that is sodium 45 45 tration in the buffer is about 5 mM to about 20 mM .
         benzoate ; and                                                 29 . The method of claim 24 , wherein the stable oral liquid
     (iv ) water ;                                                    formulation is stable at about 5 + 3° C . for at least 24 months.
     wherein the pH of the stable oral liquid formulation is less       30 . The method of claim 24 , wherein the stable oral liquid
        than about 3 .5 ;
     wherein the stable oral liquid formulation is stable at          formulation
                                                                      10          does not contain mannitol or silicon dioxide .
        about 5 - 3° C . for at least 12 months ; and                                           *   *   *    *   *
